 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 1 of 61

Color of State Law in her official capacity as an employee of the Manhattan District
Attorney’s Office a division of an official Agency of the City of New York, or in her own

capacity:
Plaintiff Price repeats and realleges each and every allegation contained in the

above paragraphs. Plaintiff claims that she was injured and continues to be injured as a
result of being placed on the NYPD “Do not Serve” Compstat List. Under the Due
Process Clause of the Fourteenth Amendment, state officials may not deprive an
individual of life, liberty, or property without due process of law. The Due Process
Clause generally does not require the state and its officials to protect individuals from
harms caused by persons who are not acting on behalf of the government that the
government did not cause. However, the Due Process Clause does prohibit state officials
from engaging in conduct that renders an individual more vulnerable to such harms. In
this case, Plaintiff Price claims that Strohbehn rendered her more vulnerable to harm by
placing her on a “do not serve” list, informing the NYPD of such status, and not ensuring
that this messaging was kept confidential and did was not shared with Plaintiff's abuser
or other neighborhood rogues seeking to do harm to Price in retaliation for her difficulties
with their close associate: Mr. Powell Price’s former pimp and abuser. To establish this
claim, Plaintiff Price must prove all of the 15 following four things by a preponderance of
the evidence: First: The harm to Plaintiff Price of being constantly under siege in her
neighborhood when her abuser and his associates discovered her status was a foreseeable
and fairly direct result of Strohbehn’s conduct. Second: Strohbehn acted with conscious
disregard of a great risk of serious harm and deliberate indifference. Third: There was
some type of relationship between Strohbehn and Plaintiff Price that distinguished
Plaintiff Price from the public at large. Fourth: Strohbehn’s action made Plaintiff Price

more vulnerable to attacks as persons knew they would not face penal repercussions for
 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 2 of 61

harms they unhanded to Price. The first of these four elements requires Plaintiff Price to
show that the harm to Plaintiff Price, constant violent attacks in her Harlem neighborhood
was a foreseeable and fairly direct result of Strohbehn’s conduct. This element includes
two related concepts: foreseeability and directness. Foreseeability concerns whether
Strohbehn should have foreseen the DIRECT and constant battery of assaults Plaintiff
Price would encounter if her enemies were informed of the DO NOT SERVE status
assigned her unlawfully and unconstitutionally by Strohbehn. Directness of Strohbehn’s
involvement in Price’s constant battery and assault from neighbors concerns whether it is
possible to draw a direct enough connection between Strohbehn’s conduct can be said to
be a fairly direct cause of constant battery Plaintiff Price suffered on many
occasions. Strohbehn acted with deliberate indifference. Strohbehn knew that there was
a strong likelihood of harm to Plaintiff Price, and that Strohbehn disregarded that risk by
failing to take reasonable measures to address it even though she knew the harm was
obvious,
137. Strohbehn acted with conscious disregard of a great risk of serious harm. Strohbehn knew
there was a great risk of serious harm, and that Strohbehn consciously disregarded that risk.
There was a special relationship between Strohbehn and Plaintiff Price that distinguished
Plaintiff Price from the public at large. Strohbehn’s conduct created a risk to the general public
by allowing people who battered, assaulted and abused Plaintiff Price free-reign to continue their
assault to others. The six other women harmed by Rami Baly, the man who attacked Plaintiff
Price on July 28, 2012 outside of Soldier McGee’s Bar were put at risk and indeed suffered
sexual assault and other forms of stalking and harassment by Stohbehn’s act of placing Plaintiff

Price on a Do NOT Serve List and denying her police services when she knew that Plaintiff Price
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 3 of 61

was not a fabricator. Strohbehn’s conduct created a foreseeable risk to Plaintiff Price and
another a definable group of people including Plaintiff Price: other women in NYC who would
be attacked by predators given leniency because of Strohbehn’s personal vendetta against
Plaintiff Price.

138. Count # 14: Defendant Police Officer Matthew Winters: Section 1983 — Excessive
Force (Including Some Types of Deadly Force) During a Stop, Arrest, or other “Seizure”
Under the Fourth Amendment: Under Color of State Law in his official capacity as an
employee of the NYPD a division of an official Agency of the City of New York, or in his
own capacity:

Plaintiff Price repeats and realleges each and every allegation contained in the
above paragraphs. claims that she was injured constitutionally by being excessively
assaulted during an arrest by PO Winters. The Fourth Amendment to the United States
Constitution protects persons from being subjected to excessive force while being
arrested. In other words, a law enforcement official may only use the amount of force
necessary under the circumstances to make the arrest. Every person has the constitutional
right not to be subjected to excessive force while being arrested even if the arrest is
otherwise proper. In this case, Plaintiff Price claims that Winters used excessive force
when he arrested Plaintiff Price. In order to establish that Winters used excessive
force, Plaintiff Price must prove both of the following by a preponderance of the
evidence: First: Winters intentionally committed certain acts. Second: Those acts
violated Plaintiff Price's Fourth Amendment right not to be subjected to excessive force.
In determining whether Winters’ acts constituted excessive force, you must ask whether
the amount of force Winters used was the amount which a reasonable officer would have

used in making the arrest under similar circumstances. The court should consider all the

relevant facts and circumstances (leading up to the time of the arrest that defendant
 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 4 of 61

reasonably believed to be true at the time of the arrest that are amplified in pleadings and
in the Appellate Panel’s summary of events attached as Exhibit outlined when charges
against Plaintiff were overturned by appeal on or about February of 2016.. The court
could consider those facts and circumstances in order to assess whether there was a need
for the application of force, and the relationship between that need for force, if any, and
the amount of force applied. Price was accused of disorderly conduct, or making noise
and expressing a profanity at police: neither are severe crimes at issue. Plaintiff Price
did NOT pose an immediate threat to the safety of Winters or others. Plaintiff Price was
clearly not armed as she was wearing an eensey party dress. There were NO
otherLipersons subject to the police action who were violent or dangerous. Plaintiff Price
never actively resisted arrest or attempted to evade arrest by flight. Certainly Plaintiffs
injuries which have been plead and exhibits of severe injuries attached were the direct
result] of Officer Winter’s OVER USE of physical force that was applied to such an
extent as to lead to unnecessary injury. The reasonableness of Winter’s acts must be
judged from the perspective of a reasonable officer on the scene. The law permits the
officer to use only that degree of force necessary to make the arrest. The force Winters
used was unreasonable: you can make out his HANDPRINTS ON HER UPPER ARMS
IN THE FORM OF BRUISES: following it does not matter whether Winters had good

motivations as clearly an Excessive Use of Force was used in Plaintiffs wrongful arrest.

139. Count #s 15 and 16 & 17: Officers Relf and Officer Maldonado: Liability in
Connection with the Actions of Another — Failure to Intervene Police Officers Maldonado,
Jane Doe and Officer Relf under color of State Law in his official capacity as an employee
of the New York City Police Department a division of an official Agency of the City of New
York, or in his own capacity:
 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 5 of 61

Plaintiff Price repeats and realleges each and every allegation contained in the
above paragraphs with the same force and effect as if fully set forth herein. Plaintiff
contends that NYPD Officers Relf, D and Maldonado and Officer Jane Doe violated
Plaintiff's specific nght to not be arrested with excessive Force by NYPD Officer
Matthew Winters: and that NYPD Officers Relf, Maldonado and Doe should be liable
for that violation because Relf failed to intervene to stop the violation on September 24,
2011. Relf , Maldonado and Doe are liable for that violation if plaintiff has proven all of
the following four things by a preponderance of the evidence: First: P.O. Matthew
Winters violated Plaintiff Price's right not to be excessively abused with excessive force
while being detained or arrested. Second: Relf, Maldonado and Doe had a duty to
intervene. Police officers have a duty to intervene to prevent the use of excessive force
bya fellow officer. Third: Officers Relf , Maldonado and Doe Had a reasonable
opportunity to intervene. Fourth: Relf failed to intervene.

140. Count # 18 Section 1983 — Liability in Connection with the Actions of Another —
Municipalities — Choice by Policymaking Official, District Attorney Cyrus Vance Under

color of State Law in his official capacity as an employee of the Manhattan District
Attorney’s Office: a division of an official Agency of the City of New York, or in his own

capacity:

Plaintiff Price repeats and realleges each and every allegation contained in the
above paragraphs with the same force and effect as if fully set forth herein. Plaintiff
contends that The Manhattan District Attorney’s Office (“MDAO)”) of the City of New
York is a policymaking entity whose actions represent a decision by the government
itself (insert Walker case citation). The same is true of an official or body to whom the

MDAO has given final policymaking authority: such as Operation Crew Cut

Squads. The actions of that official or body represent a decision by the government
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 6 of 61

itself. Thus, when the MDAO or Vance make a deliberate choice to follow a course of
action, that choice represents an official policy. Through such a policy, the MDAO or the
DA Vance may cause a violation of a federal right by: LU directing that the violation
occur,U authorizing the violation, orL] agreeing to a subordinate’s decision to engage in
the violation. The MDAO or Vance may also cause a violation through inadequate
training and/or inadequate supervision, failure to adopt a needed policy, but only if the
City of New York is deliberately indifferent to the fact that a violation of Due Process
Rights to not be Maliciously Prosecuted and to not be unlawfully Searched and Seized is
a highly predictable consequence of the [inadequate training, inadequate supervision,
and the failure to adopt a needed policy by Vance, the MDAO and the City of New
York. I instruct you that Cyrus Vance Jr. and the MDAO are policymakers whose
deliberate choices represent official policy.
141. Count #s 19-23: Section 1983 — Unlawful Seizure: NYPD Officers: Detective Linda
Simmons, and Officer Matthew Winters: under color of State Law in his/her official
capacity/ies as employees of the New York City Police Department: a division of an official
Agency of the City of New York, or in his/her own capacity:

Plaintiff Price repeats and realleges each and every allegation contained in the
above paragraphs with the same force and effect as if fully set forth herein. Plaintiff
contends that NYPD Officers Winters and Simmons violated Plaintiff's specific right to
not be arrested under The Fourth Amendment to the United States Constitution which
protects persons from being subjected to unreasonable seizures by the police. A law
enforcement official may only seize a person if there is appropriate justification to do 8
so. In this case, Plaintiff Price claims and has amply pled that defendants Winters and

Simmons subjected Plaintiff Price to an unreasonable arrest in violation of the Fourth

Amendment. A preponderance of the evidence pled amplifies these claims. First:
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 7 of 61

Defendants Winters and Simmons intentionally had no cause and acted with malice and
or other motivation when arresting Price on four occasions. Those acts subjected

Plaintiff Price to (a) “seizures” and the “seizure” was unreasonable.

142. Count # 24: Section 1983 — Unlawful Seizure Under the Fourth Amendment-— Terry
Stop and Frisk: John Doe and Jane Doe Police Officers of the Midtown North Precinct
under color of State Law in his/her official capacities as employees of the NYPD: or in
his/her own capacity/ies.

Plaintiff Price repeats and realleges each and every allegation contained in the
above paragraphs with the same force and effect as if fully set forth herein. Plaintiff
contends that NYPD Officers John and Jane Doe of the Midtown North Precinct violated
Plaintiff's specific right to not be arrested on or about JULY 3, 2015 when Plaintiff was
seized and transported to /Bellevue Hospital “Arrest” on or about July 3, 2015 as is
amplified in the above pleadings. A “seizure” occurs when a police officer restrains a
person in some way, either by means of physical force or by a show of authority that the
person obeys. In view of all the circumstances of pleadings expressed about Price’s July
2015 seizure by the Midtown North Precinct and its unknown police officers, a
reasonable person would have believed that Plaintiff Price was not free to end the
encounter as Police had placed handcuffs on Price and put her under armed guard in the
back of an ambulance as they transported her against her will to Bellevue Hospital for
Psychiatric evaluation. If a reasonable person, under the circumstances, would have
believed that she was not free to end the encounter, then at that point the encounter has
turned into a “stop” that counts as a “seizure” for purposes of the Fourth Amendment. If

the court finds that Plaintiff Price has proved by a preponderance of the evidence that

such a stop occurred, then the court must decide whether the stop was justified by
 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 8 of 61

“reasonable suspicion.” The Fourth Amendment requires that any seizure must be
reasonable. In order to “stop” a person, the officer must have a “reasonable suspicion”
that the person has committed, is committing, or is about to commit a crime. These are
not the facts pled: Price was attempting to make a police report about an assault made
against her person. These specific facts, taken together with the rational inferences from

those facts DO NOT reasonably warrant the stop.

143. COUNT #25: DUE PROCESS CLAIM AGAINST THE CITY Plaintiff
Price repeats and realleges each of the allegations contained in paragraphs | through 124 with
the same force and effect as if fully set forth herein. By its policies, practices, acts, and
omissions, the City has caused the plaintiff whose abuser was a Confidential Informants and/or
witness/complainant on major cases to be subjected to further abuse by the criminal justice
system when she came forward for help, in violation of her due process rights under the
Fourteenth Amendment to the United States Constitution.
144. COUNT #s 26 and 27: (Malicious Prosecution Under Federal Law: Defendants
ADA Maria Strohbehn, Ada Kenya Wells, City of New York Under the color of State Law
in their official capacities as employees of the Manhattan District Attorney’s Office:
Plaintiff repeats and realleges each and every allegation contained in this
Complaint. By virtue of the foregoing, the Individual Defendants, acting in concert with
each other and with additional persons for whose acts they are liable, initiated, continued,
and/or caused the initiation or continuation of, criminal proceedings against
Plaintiff. The criminal proceedings terminated in Plaintiff's favor. There was no probable
cause for the commencement or the continuation of the criminal proceedings. The

Defendants acted with actual malice. Defendant City of New York is liable under the

principle of respondent superior.
 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 9 of 61

145. COUNT #28 (42 U.S.C. §1983; Denial Of Due Process Under the Fifth, Sixth and
Fourteenth Amendments; Malicious Prosecution and Deprivation of Liberty Under the
Fourth and Fourteenth Amendments; (Defendants: Simmons, Strohbehn, Vance, Wells,)
Plaintiff repeats and realleges each and every allegation contained of this.complaint as if fully set
forth herein. Among other offenses, Defendants Simmons knowingly and willfully
manufactured, or caused the manufacturing of, a false written statement, which they prepared
and improperly compelled or induced Plaintiff to sign under "oath," accusing Plaintiff of
fabricating her own injuries or they told her that her abuser would be arrested and he would tell
everyone that she was working as a prostitute under duress. They knew that the statement would,
and caused the statement to, be relied upon by the MDAO and the court as a basis to arrest
Plaintiff, to formally initiate her prosecution, to hold her for trial, and to compel Powell to
submit affidavits, and to give testimony consistent with her statement. Wells thereafter
knowingly swore to a false Criminal Court complaint initiating the criminal prosecution of
Plaintiff, and causing Plaintiff to be held in Rikers Island and in the tombs at 100 Centre Street.
Malicious Prosecution: Defendants filed hundreds of counts of aggravated harassment against
Plaintiff against the allotments stipulated by the statute for aggravated harassment. Additionally,
prior to trial, Simmons manufactured false "threat" evidence by filing a false police complaint
alleging that Plaintiff was responsible for numerous threats against Raheem Powell: in fact
Plaintiff's assertions that she would turn Powell into the NYPD for his physical attacks on her
were themselves seen through some perverted law-enforcement spectrum as threats by Plaintiff
to Powell by the NYPD and the MDAO: they were used in the actual false filing as such which
caused injuries to Plaintiff, as set forth above. By virtue of the foregoing, Simmons and

Strohbehn and Wells, with actual malice, initiated and continued, or caused the initiation and
 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 10 of 61

continuation of, criminal proceedings against Plaintiff for which they knew, or should have
known, there was no probable cause, and for which

a. In fact there was no probable cause, and thereby caused Plaintiff to be deprived of her
liberty. Such proceedings ultimately were terminated in Plaintiff's favor. Additionally, Simmons
and Strohbehn knew, but withheld from the MDAO, either permanently or for a substantial
period of time, and therefore from the court and the defense, exculpatory or impeachment
evidence that tended to negate Plaintiff's guilt and which they knew or should have known the
law required them to timely disclose (such as Plaintiff's Batterers PREVIOUS FELONY
CONVICTION FOR DOMESTIC VIOLENCE by the MDAO). This evidence included, but was
not limited to, Hospital Emergency Room reports, statements from Plaintiff's neighbors and ER
doctors; Photographs of Plaintiff's injuries incurred at the hands of Powell; the fact that Powell
was a drug dealer who had acted in concert with the NYPD on more than one previous occasion;
and their unreasonable failure to investigate the information provided to them by Plaintiff and
Plaintiff's attorney and advocates from various Domestic violence advocacy groups. The
aforesaid conduct, which Defendants committed in concert with and in aid of each other, and/or
in concert or conspiracy with others named and unnamed, operated to deprive Plaintiff of her
rights under the Constitution and the Laws of the United States:

Not to be arrested, indicted, prosecuted, detained, convicted, or imprisoned based upon
false, fabricated, manufactured, misleading, or inherently unreliable "evidence," including the
statements and testimony of witnesses who have been improperly influenced, coerced, or
manipulated to provide such statements and testimony, in violation of the Due Process and Fair

Trial Clauses of the Fifth, Sixth and Fourteenth Amendments to the United States Constitution;
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 11 of 61

1. (b) Not to be deprived of her liberty absent probable cause to
believe she has committed a crime, in violation of her rights under
the Fourth and Fourteenth Amendments to the United States
Constitution; and

2. (c) To timely disclosure of all material evidence favorable to the
defense pursuant to Brady v. Maryland, 373 U.S. 83 (1963), Giglio
v. United States, 405 U.S. 150 (1972), and their progeny, and the
Due Process and Fair Trial Clauses of the Fifth, Sixth, and
Fourteenth Amendments to the United States Constitution.

146. The foregoing violations of Plaintiffs federal constitutional rights by the Defendants and
their co-conspirators and accomplices, known and unknown, directly, substantially, proximately,
and foreseeably caused the initiation and continuation of Plaintiff's criminal prosecution, her loss
of liberty and detention, her wrongful conviction for disorderly conduct, her subsequent
imprisonment, her restriction of movement and freedoms as specified in the order of protection
the court ordered against her in the name of her batterer, Raheem Powell, her to be placed ona
NYPD ‘no services’ list and her other injuries and damages. The foregoing violations of
Plaintiffs rights amounted to Constitutional torts and were affected by actions taken under color
of State law, and within the scope of the Defendant's’ employment and authority. Defendants
committed the foregoing violations of Plaintiffs rights knowingly, intentionally, willfully,
recklessly, and/or with deliberate indifference to Plaintiff's constitutional rights or to the effect of
such misconduct upon Plaintiff's constitutional rights. 413. By reason of the foregoing, the
Defendants are liable to Plaintiff, pursuant to 42 U.S.C. § 1983, for compensatory and for

punitive damages.
 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 12 of 61

147. COUNT #29: (42 U.S.C. §1983; Denial Of Due Process Under the Fifth, Sixth and
Fourteenth Amendments; Malicious Prosecution, Abuse of Process, and Deprivation of
Liberty Under the Fourth, Fifth, Sixth, and Fourteenth Amendments; Defendants: Moore,
Wells, Strohbehn, Simmons, Vance acting under color of State law in their official
capacities:

Plaintiff repeats and realleges each and every allegation contained in contained in
this complaint as if fully set forth herein Knowing that any colorable cause to continue
the prosecution had evaporated, Wells, in the capacity of an investigator or "witness,"
acted in concert and conspired with Strohbehn, Wells, Moore, and others, named and
unnamed, to use any means, no matter how unlawful or coercive, to intimidate them into
falsely accusing Plaintiff of the charged crimes. These illegal and unconstitutional means
included, but were not limited to,

1. Abusing judicial process by misusing the court's subpoena power to compel witnesses to
appear at Court and the Das office;

ll. Abusing judicial process by deceiving the court into issuing "orders of protection"
restricting Plaintiff's liberties and freedom by: Personally attesting to "facts" which they knew
were untrue in order to deceive the court into issue orders authorizing them to take custody of
such plaintiff;

2. These lawless actions foreseeably caused the aforementioned witnesses to manufacture
false evidence which Strohbehn and Simmons then used to continue Plaintiffs malicious
prosecution, without probable cause, and for Wells to bring about her false conviction at
trial. The foregoing violations of Plaintiffs federal constitutional rights by the

Defendants, together with their co-conspirators and accomplices, known and unknown,
 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 13 of 61

directly, substantially, proximately, and foreseeably caused the continuation of Plaintiffs
malicious prosecution without probable cause, her wrongful imprisonment, and her other
injuries and damages. The foregoing violations of Plaintiffs rights amounted to
Constitutional torts and were affected by actions taken under color of State law, and
within the scope of the Defendant's’ employment and authority. Defendants committed
the foregoing violations of Plaintiffs rights knowingly, intentionally, willfully, recklessly,
negligently, and/or with deliberate indifference to Plaintiff's constitutional rights or to the
effect of such misconduct upon Plaintiffs constitutional rights. By reason of the
foregoing, the Defendants are liable to Plaintiff, pursuant to 42 U.S.C. § 1983, for

compensatory and for punitive damages.

. CLAIM #29: (Monell/42 U.S.C. § 1983: Claim Against Defendant City of New

York For The Actions Of The NYPD)
Plaintiff repeats and re-alleges each and every allegation contained in contained

in this complaint as if fully set forth herein. The foregoing violations of Plaintiffs

federal constitutional rights and injuries were further directly, foreseeably, proximately,
and substantially caused by conduct, chargeable to Defendant City, amounting to
deliberate indifference to the constitutional rights of persons, including Plaintiff, who are
investigated, arrested, or prosecuted for alleged criminal activities. Prior to Plaintiff's
arrest, policymaking officials at the NYPD, with deliberate indifference to the
constitutional rights of individuals suspected or accused of criminal activity, to the risk of
arresting, prosecuting and convicting innocent people, and to the right of all criminal
suspects and defendants to due process and a fair trial, implemented plainly inadequate
policies, procedures, regulations, practices, customs, training, supervision, and discipline

conceming:
 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 14 of 61

1. The use of excessive promises of rewards with witnesses, including drug dealers and

and/or individuals fearing persecution and imprisonment for their own criminal behavior;

li. The determination of probable cause to make an arrest; and

ill. The continuing duty of police investigators to preserve and to make timely disclosure to
the District Attorney, during criminal investigations and prosecutions, of all material evidence or
information ("Brady material") favorable to a person suspected, accused or convicted of criminal
conduct, including, but not limited to, evidence of innocence, evidence that an identifying or
prosecution witness is unreliable or lacks general credibility, evidence that a prosecution witness
has made inconsistent statements about material facts, and evidence that a prosecution witnesses
has a motive, bias or interest affecting his credibility or has been pressured or coerced, so that the
District Attorney could comply with his constitutional obligation to disclose such information to
the defense under Brady.

2. With respect to "a" and "c" in the preceding paragraph, prior to Plaintiff's arrest and the
initiation of her prosecution the NYPD or the MDAO provided no training at all in
regards to how a DV or trafficking complainant should be evaluated or the efficacy of
their complaints as victims should they be suspected of fabricating their injuries. What
further review other than the cursory nods by individuals who had not investigated the
facts is needed to brandish such a title on a crime victim/complainant? What review
exists to ensure an investigation is in fact undertaken? What checks and balances are in
place to ensure innocent victims are not falsely branded “fabricators” enabling their
abusers to use the criminal justice system against them to control their lives and alter the
freedoms and liberties most citizens enjoy? To imprison them and cause them public

shame, emotional distress, loss of income and loss of private and professional standing?
 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 15 of 61

The aforesaid deliberate or de facto policies, procedures, regulations, practices and/or
customs (including the failure to properly instruct, train, supervise and/or discipline
employees with regard thereto) were implemented or tolerated by policymaking officials
for the Defendant City of New York, including but not limited to, the New York City
Police Commissioner, who knew (or should have known):
a. to a moral certainty that such policies, procedures, regulations, practices and/or customs
concern issues that regularly arise in the investigation and prosecution of criminal cases;
b. that such issues either present police employees with difficult choices of the sort that
instruction, training and/or supervision will make less difficult or that the need for further
instruction, training, supervision and/or discipline was demonstrated by a history of police
employees mishandling such situations as well as the incentives that police employees have to
make the wrong choice; and
C. that the wrong choice by such employees concerning such issues will frequently cause
the deprivation of the constitutional rights of criminal suspects or defendants and cause them
constitutional injury.
d. The aforementioned policymaking officials had the knowledge and the notice alleged in
the preceding paragraph based upon, among other circumstances: Plaintiff has obtained amicus
briefs and affidavit testimony from present and former Domestic Violence advocacy groups,
establishing, prior to and during the time period of Plaintiff's arrest and prosecution, the NYPD
and MDAO provided no training concerning appropriate interrogation of Domestic Violence
complainants suspected of being fabricators. formal reports of the N.Y.C. Comptroller's Office
and the Bar Association of the City of New York criticizing the NYPD and the N.Y.C. Law

Department for failing to follow up substantial civil settlements for police misconduct with
 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 16 of 61

disciplinary or other remedial action; and the inherent obviousness of the need to train, supervise
and discipline police officers in such obligations to counteract the pressure on officers and the
powerful incentives they have to close cases and to obtain arrests and convictions. Under the
principles of municipal liability for federal civil rights violations, the City's Police Commissioner
(or his authorized delegates), has final responsibility for training, instructing, supervising, and
disciplining police personnel with respect to the investigation and prosecution of criminal
matters, including constitutional requirements governing the interrogation of witnesses, the
initiation of criminal prosecutions, and the disclosure of Brady material. The Police
Commissioner, personally and/or through his authorized delegates, at all relevant times had final
authority, and constitutes a City policy maker for whom the City is liable, with respect to

compliance by NYPD employees with the above-mentioned constitutional requirements.

151. During all times material to this Complaint, the Police Commissioner owed a duty to the
public at large and to Plaintiff, which he knowingly and intentionally breached, or to which he
was deliberately indifferent, to implement policies, procedures, customs, practices, training and
discipline sufficient to prevent or deter conduct by his subordinates violating the aforementioned
constitutional rights of criminal suspects or defendants and of other members of the public. The
aforesaid policies, procedures, regulations, practices and/or customs of Defendant City and the
NYPD were collectively and individually a substantial factor in bringing about the aforesaid
violations by the Individual Police Defendants of Plaintiffs rights under the Constitution and
laws of the United States. By virtue of the foregoing, Defendant City of New York is liable for
having substantially caused the foregoing violations of Plaintiffs constitutional rights and her

constitutional injuries.
 

152.

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 17 of 61

CIAIM #30: (Monell/42 U.S.C. § 1983 Claim Against Defendants: Vance,

Moore, City Of New York For Actions Of The MDAO)

153.

Plaintiff repeats and realleges each and every allegation contained in contained
in this complaint as if fully set forth herein. At the time of Plaintiff's original prosecution,
and continuing, District Attorney Cyrus Vance Jr, as the manager and chief administrator
of the MDAO, a City agency, maintained a policy, custom and/or practice of deliberate
indifference to violations by his employees of the constitutional nghts of individuals who
made complaints as victims of domestic violence whose batterers held information
critical to other investigations and criminally prosecuted in New York County, including,
but not limited to, abuse of process, manufacturing of false evidence and testimony
through improper coercion of witnesses, Brady violations, reliance on false or misleading
evidence and argument at trial ("the policy"), and covering up the same. The policy
permits, encourages, or acquiesces in the commission of, constitutional violations of the
rights of suspects and defendants by prosecutors, detective-investigators, and NYPD
detectives working with the D.A. 's Office, particularly in high profile or serious cases
where arrest and conviction is most desired by the Office. The policy led directly to the
violations of Plaintiffs constitutional rights, and the subsequent cover-up of police and
prosecutors’ wrongdoing, which greatly prolonged Plaintiffs wrongful imprisonment,
seizure and other damages. Vance had no employee handbook, manual, or other
document setting forth any process for evaluating “fabricators”. Defendant CITY is liable
for having substantially caused the foregoing violations of Plaintiffs constitutional nights
and his resultant injuries.

CLAIM # 31: (Negligent Hiring, Training and Supervision Under State Law;

Defendant City of New York, Vance, Moore acting under the color of state law in their
officia] and individual capacities)
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 18 of 61

Plaintiff repeats and realleges each and every allegation contained in this
Complaint. By virtue of the foregoing, defendant City of New York is liable to plaintiff
because of its intentional, deliberately indifferent, careless, reckless, and/or negligent
failure to adequately hire, train, supervise, and discipline its agents, servants and/or
employees employed by the MDAO and or the NYPD with regard to their
aforementioned duties.
154. CLAIM #33: 42 U.S.C. §1983; Denial Of Due Process Under the Fifth, Sixth and
Fourteenth Amendments; Abuse of Process, and Deprivation of Liberty Under the Fourth,
Fifth, Sixth, and Fourteenth Amendments; Defendants Obe, Pierre-Louis, Strohbehn,

Vance, Wells, Winters: the NYPD and the MDAO, as a matter of policy, stripped Miss
Plaintiff of her First Amendment Rights to petition the Government for redress of grievances:

155. CLAIM #34: 42 U.S.C. §1983; Unreasonable Search & Seizure Under the Fourth
Amendment's; “Abuse of Process, and Deprivation of Liberty Under the Fourth, Fifth,
Sixth, and Fourteenth Amendments*; Defendants: Simmons, Strohbeh, Wells, Winters and
Vance Under Color of State Law:

Plaintiff's knowingly kept Plaintiff Price under unreasonable seizure for an
elongated period of time during her false arrest and drawn-out prosecution lasting
approximately SIX years (during which the seizure continued) denying her of her Fourth
Amendment right against unreasonable searches and seizures as some charges are still
Pending as this complaint is filed.

156. CLAIM #35: 42 U.S.C. §1983; Excessive and Unusual Punishment Under the
Eighth Amendment; *Abuse of Process, and Deprivation of Liberty Under the First,
Fourth, Eighth, Fifth and sixteenth Amendments*; Defendants Simmons, Moore, Wells,
Strohbehn, Vance Under the color of state law in their official capacities:

Defendants eschewed Plaintiff her Eighth Amendment rights by denying her
police services asserting excessive and unusual punishment and commencing court
proceedings not once but twice against Plaintiff Price in order to achieve another goal: to

keep her batterer and abuser, Raheem Andre Powell cooperating with their operation

“Crew Cut” investigation(s).
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 19 of 61

157. Count # 36: Section 1983 — Unlawful Seizure: NYPD Officer: Detective Linda
Simmons: under color of State Law in his/her official capacity/ies as employees of the New
York City Police Department: a division of an official Agency of the City of New York, or
in his/her own capacity for Actions undertaken on our about 10/13/2010:
The Fourth Amendment to the United States Constitution protects persons from being
subjected to unreasonable seizures by the police. A law enforcement official may only
seize a person (for example, by stopping or arresting the person) if there is appropriate
justification to do so. In this case, Plaintiff Price claims that Detective Simmons
subjected Plaintiff Price to an unreasonable arrest, in violation of the Fourth
Amendment. To establish this claim, Plaintiff Price must prove each of the following
three things by a preponderance of the evidence: First: Simmons intentionally
arrested Plaintiff Price even though she knew her to be not guilty of fabricating a police
report. Second: Those acts subjected Plaintiff Price to a “seizure.” Third: The “seizure”
was unreasonable.
158. CLAIM #37: 42 U.S.C. §1983; Denial Of Due Process and Equal Protection Under
the Fifth, Sixth and Fourteenth Amendments; Abuse of Process, and Deprivation of
Liberty Under the Fourth, Fifth, Sixth, and Fourteenth Amendments; Defendants Jane Doe
II_ and John Doe:

Under the Due Process Clause of the Fourteenth Amendment, state officials may
not deprive an individual of life, liberty, or property without due process of law. The Due
Process Clause generally does not require the state and its officials to protect individuals
from harms caused by persons who are not acting on behalf of the government. However,
the Due Process Clause does prohibit state officials from engaging in conduct that
renders an individual more vulnerable to such harms. In this case, Plaintiff Price claims

that Defendant Agron rendered her more vulnerable to harm by refusing to take a report

for events that transpired on the evening of November 11, 2010 where Powell threw
 

159.

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 20 of 61

Plaintiff through a fish tank and instead the precinct instructs Plaintiff to go to family
court to attain a restraining order against him which she does (Exhibit # E). To establish
this claim, Plaintiff Price must prove all of the 15 following four things by a
preponderance of the evidence: First: The harm to Plaintiff Price’s refusal of police
service was a foreseeable and fairly direct result of the defendant officers’ conduct.
Second: These officers acted with deliberate indifference. Third: There was some type of
relationship between these officers and Plaintiff Price that distinguished Plaintiff Price
from the public at large. Fourth: These officers action made Plaintiff Price more
vulnerable to further abuse by her batterer.

COUNT #38: 42 U.S.C. §1983; Denial Of Due Process and Equal Protection Under

the Fifth, Sixth and Fourteenth Amendments; Abuse of Process, and Deprivation of
Liberty Under the Fourth, Fifth, Sixth, and Fourteenth Amendments; Defendant Agron:

Under the Due Process Clause of the Fourteenth Amendment, state officials may
not deprive an individual of life, liberty, or property without due process of law. The Due
Process Clause generally does not require the state and its officials to protect individuals
from harms caused by persons who are not acting on behalf of the government. However,
the Due Process Clause does prohibit state officials from engaging in conduct that
renders an individual more vulnerable to such harms. In this case, Plaintiff Price claims
that two unknown officers, Jane Doe and John Doe, rendered her more vulnerable to
harm by telling Plaintiff when she goes to make report that he will arrest Plaintiff for
trespassing if she doesn’t leave the precinct, after she was beaten, robbed, and dragged
into the street Powell on December 22nd, 2010, and multiple witnesses called 911 for
help. To establish this claim, Plaintiff Price must prove all of the 15 following four
things by a preponderance of the evidence: First: The harm to Plaintiff Price’s refusal of

police service was a foreseeable and fairly direct result of the defendant officers’ conduct.
 

160.

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 21 of 61

Second: Sergeant Agron acted with deliberate indifference. Third: There was some type
of relationship between Sergeant Agron and Plaintiff Price that distinguished Plaintiff
Price from the public at large. Fourth: Sergeant Agron’s action made Plaintiff Price more
vulnerable to further abuse by her batterer.

COUNT #39: 42 U.S.C. §1983; Denial Of Due Process and Equal Protection Under

the Fifth, Sixth and Fourteenth Amendments; Abuse of Process, and Deprivation of
Liberty Under the Fourth, Fifth, Sixth, and Fourteenth Amendments; Defendant Agron:

161.

Under the Due Process Clause of the Fourteenth Amendment, state officials may
not deprive an individual of life, liberty, or property without due process of law. The Due
Process Clause generally does not require the state and its officials to protect individuals
from harms caused by persons who are not acting on behalf of the government. However,
the Due Process Clause does prohibit state officials from engaging in conduct that
renders an individual more vulnerable to such harms. In this case, Plaintiff Price claims
that Defendant Agron rendered her more vulnerable to harm by telling Plaintiff that the
only thing he can do for Plaintiff is to “move Plaintiff to Nevada” (See texts from Powell
EXHIBIT #N) after Plaintiff goes to the precinct to make a police report of Powell’s
further abuse on January 27, 2011. To establish this claim, Plaintiff Price must prove all
of the 15 following four things by a preponderance of the evidence: First: The harm to
Plaintiff Price’s refusal of police service was a foreseeable and fairly direct result of the
defendant officers’ conduct. Second: Sergeant Agron acted with deliberate
indifference. Third: There was some type of relationship between Sergeant Agron and
Plaintiff Price that distinguished Plaintiff Price from the public at large. Fourth: Sergeant
Agron’s action made Plaintiff Price more vulnerable to further abuse by her batterer.

COUNT #41: 42 U.S.C. §1983; Denial Of Due Process and Equal Protection Under

the Fifth, Sixth and Fourteenth Amendments; Abuse of Process, and Deprivation of
Liberty Under the Fourth, Fifth, Sixth, and Fourteenth Amendments; Defendant Simmons:
 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 22 of 61

Under the Due Process Clause of the Fourteenth Amendment, state officials may
not deprive an individual of life, liberty, or property without due process of law. The Due
Process Clause generally does not require the state and its officials to protect individuals
from harms caused by persons who are not acting on behalf of the government. However,
the Due Process Clause does prohibit state officials from engaging in conduct that
renders an individual more vulnerable to such harms. In this case, Plaintiff Price claims
that Defendant Simmons rendered her more vulnerable to harm by telling Plaintiff that
“it’s too late that the precinct will look bad” when she asked about signing a complaint
for injuries dating from November 11, 2011. To establish this claim, Plaintiff Price must
prove all of the 15 following four things by a preponderance of the evidence: First: The
harm to Plaintiff Price’s refusal of police service was a foreseeable and fairly direct result
of the defendant officers’ conduct. Second: Detective Simmons acted with deliberate
indifference. Third: There was some type of relationship between Detective Simmons
and Plaintiff Price that distinguished Plaintiff Price from the public at large. Fourth:
Detective Simmons’s action made Plaintiff Price more vulnerable to further abuse by her

batterer.

Count #42: Defendant Detective Linda Simmons: Section 1983 Violations for State-

created Danger under the Due Process Clause of the Fourteenth Amendment: Under
Color of State Law in her official capacity as an employee of the Manhattan District
Attorney’s Office a division of an official Agency of the City of New York, or in her own

capacity:

Plaintiff Price repeats and realleges each and every allegation contained in the

above paragraphs.
 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 23 of 61

163. This lawsuit seeks to hold the defendant CITY OF NEW YORK liable for the above and below
stated misconduct under the federal civil rights statute, 42 U.S.C. § 1983, and Monell v. Dept. Of Social
Services, 436 U.S. 658 (1978) and under state Jaw. The unlawful actions of police detectives and
prosecutors documented in this lawsuit resulted from affirmative or de facto municipal policies, practices
and customs to violate the constitutional rights of survivors involved in making Domestic Violence and/or
human trafficking complaints, or from deliberate indifference by policy-making officials, acting on
behalf of the City of New York, to such violations. As Plaintiff will demonstrate, both the NYPD and the
MDAO, as a matter of policy, instructed and coerced witnesses to give false or unreliable testimony
through their misuse of their powers of arrest and interrogation, unlawfully concealed exculpatory or
impeachment evidence known as "Brady" material, and lied to or misled courts, defense attorneys, and
criminal defendants in order to cover up their unlawful behavior. Further they retaliated by placing
Plaintiff on a “DO NOT SERVE?” list making it impossible for her to attain police services of protections
in the wake of the MDAO and NYPD losing the protracted criminal proceedings against her.
164. Plaintiff, Kelly Price, is an intelligent and able individual who had built a career in
photojournalism and would have continued to earn a substantial salary as an International News
Assignment and Features Editor, but for the defendants' misconduct in causing her wrongful prosecution,
and imprisonment. She seeks $30 million in actual damages, and $10 million in punitive damages, for the
egregious misconduct that deprived her of the joys of bearing the child she miscarried, of family life, of
her journalism career, psychological damages, emotional pain and suffering, defamation and of living as a
free person and to be blacklisted by the NYPD in a city where Plaintiff is a fourth-generation member of
her family to live.

XIV. DAMAGES

1. WHEREFORE, Plaintiff seeks compensatory damages in the amount of $30,000,000 (THIRTY

MILLION USD) together with attorney fees and court costs for defamation, loss of work,
emotional pain and suffering. Plaintiff also seeks POLICY CHANGE for the way that Domestic

Violence Survivors are treated within the criminal justice system when they come forward for
 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 24 of 61

help in extracting themselves from life-threatening intimate partner situations. A methodology
and better training needs to be implemented for identifying true victims that is not subject to the
whimsy of one lone prosecutor’s bias(es). When a victim is thought to be a ‘fabricator’ a review
of his/her case need to be examined by Domestic Violence advocates, therapists, social workers,
and psychiatrists before they are denied protections, police services, social welfare services, a
normal quality of life free from harm, and their ability to petition the government for redress of
grievances. Recently, the Manhattan District Attorney Cyrus Vance has stated that his office
reviews 5,000 case of Domestic Violence a year. How many of these cases are labeled
‘fabrications’ by prosecutors with other motives or who are too burdened by their caseloads and
lack the acumen or incentive to make the right call? Plaintiff seeks transparency and public
dialogue in order to ensure other victims don’t slip through the cracks allowing their batterers to
be emboldened to harm others and the victim to slip into emotional, psychological, social,
physica! and economic dire straits.
a. Plaintiff Price is a talented, ardent, skilled ambitious (Exhibit # JJ recent letter of
recommendation from Dorchen Leidholdt, Director of Battered Women's’ Services at Sanctuary for
Families, NY) used to operate at very high-level as one of the most respected young photojournalism
editors running war correspondents in and out of conflict zones (Exhibit # 12). She is a graduate of Mount
Holyoke College and attended the University of Colorado where she worked on her Master’s degree: she
won many academic awards and scholarships and endeavored to have a bright future ahead of her.
Plaintiff ran the world's top photojournalists in and out of war zones and covered top stories on all fronts
for over the past decade. (Exhibit # 12 list of some of Price’s journalistic accomplishments.) She had
achieved a high level of respect and admiration based on trust and love and solid, steady, cool-headed
work. Now her life is literally in tatters. Credibility is key to the journalistic community and the pallor of
criminality still follows her as a result of the malicious arrests and prosecutions. The emotional pain and
suffering from these events has debilitating effects on Plaintiff who has literally lost everything she

worked for: her personal identity. her career, her familial and social support networks, her unborn child,
 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 25 of 61

her apartment, her belongings, had her car repossessed, lost a pet because she did not have funds for vet
bills, been ostracized from everything and everyone that meant anything to her. She was at one time
trusted and loved until her world fell apart because of these prosecutions by the people she turned to for
help at her darkest, most helpless hour. Plaintiff more than anything wants her name back and wishes to
continue to do the good work she was producing. She struggled to build a beautiful life for herself. Now
she is trying to put the pieces of her life together but her troubles seem to compound as time slips by.

2. Plaintiff has been diagnosed with Borderline Personality Disorder and Complex Post-Traumatic-
Stress-Disorder by Psychiatrists and therapists at the St. Luke’s Roosevelt Hospital Crime
Victims Center and CCM where she has been in intensive Domestic Violence therapies and
programs since 2011 and by the Psychiatric staff at Bellevue Hospital’s 9/11 Survivors’ Health
Care Program. She suffers severe depression, bouts of racing thoughts, nausea, temperature
swings, disassociation, mood-swings, sleeplessness, despair, weight fluctuations, digestive
disorders and headaches. She is currently in therapy at Sanctuary for Families, New York for the
same disorders.

3. DAMAGES DEMAND WHEREFORE, Plaintiff demands judgment against the Defendants as
follows:

For POLICY CHANGE for the way victims of trafficking and battery abused by Confidential
Informants and/or witnesses/complainants on major cases are handled by the Police and District

Attorneys when they come forward for help and to report the abuse.

a. For compensatory damages of not less than $30 million;

b. For punitive damages against the individual Defendants of$10 million;

c. For reasonable attorneys’ fees, together with costs and disbursements,

d. pursuant to 42 U.S.C. §1988 and to the inherent powers of this Court;

e. For pre-judgment interest as allowed by law; and For such other and further reliefas this Court

may deem just and proper.
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 26 of 61

4. The Manhattan District Attorney, Mr. Cyrus Vance, Jr., quoted Berger v S, 295 U.S. 78, 88
(1935) in his Recommendation for Dismissal of charges against DSK: “Along with the
substantial power conferred upon prosecutors come unique responsibilities. Rather than serving
only as a zealous advocate on behalf of a client, prosecutors have a broader set of obligations to
the community, the victim, and the defendant:

“The [prosecutor] is the representative not of an ordinary party to a controversy, but of a
sovereignty whose obligation to govern impartially is a complaint as its obligation to govern
at all; and whose interest, therefore, in a criminal prosecution is not that it shall win a case,
but that justice shall be done. As such, he is in a peculiar and very definite sense the servant
of the law, the twofold aim of which is that guilt shall not escape or innocence suffer.”

128. How much longer must Ms. Price suffer?

Kelly Price Sworn to before me on this 3% day of January, 2017

Cue

 

  

Pujara
Notery Public of the State of New York
No. 02PU6139776
Commission in New York County
Commission Expires 10/02/2018
 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 27 of 61
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 28 of 61
Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 33 of 81 |

 

 

|
32
|
1 computer without authorization". In other words, if |
2 you're allowed to be at the computer, it's okay, even
3 if you violate that terms of use, What's wrong with
4 that?
5 MR. RIVELLESE: Well, if - -— - if you're
6 committing crimes with the computer, that should be
7 enough to ~ 7 -
8 JUDGE SMITH: Well, you - - - well, you can
9 be prosecuted for the crimes you're committing, but
10 are you committing the crime of unauthorized use of a
11 computer, if, in fact, you are authorized to use the :
== $2 =computer> ;
13 MR. RIVELLESE: Well, if - - - if you know
14 that you're not authorized to use the computer
15 because you're using the computer to commit conduct
16 that you're not supposed to be using on it - - 7-
1? JUDGE SMITH: Like going on Facebook, for
18 example.
13 MR. RIVELLESE: Jf you knew for a fact you
20 weren't supposed to use a computer to do it, and you
21 went and did it, you'd be violating that - - 7 that
22 term.
23 JUDGE SMITH: ‘T'11l say a misdemeanor,
24 MR. RIVELLESE: But = - - but - 7- 7
25 CHIEF JUDGE LIPPMAN: Counsel, but isn't

 

 

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 29 of 61

 

SG SIT THOT eine Picu UNUc ID Pag
: e2 Of oo

Ca

.se@ 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 34 of 81

33

 

 

1 the fact that we're going through these - - ~ these

2 scenarios, doesn’t it almost get to the point of

3 being a comedy and looking at what you're alleging

4 are crimes and when it is and when it isn't? Doesn't
5 ait get to the point where it's almost, you know,

6 ludicrous? I mean, we're looking at this, and we’re
7 here looking at criminal violations in the context of
8 the factual - - - the facts as we know it in this

9 case.

10 MR. RIVELLESE: Well, you can - ~ ~

11 CHIEF JUDGE LIPPMAN: Almost ethereally

1? absurd,—t-quess,—iswhat—L'm_aaying: = ita = =
13 MR. RIVELLESE: What happened here is he

14 really get charged with everything that he could be
15 alleged to have done, whereas there was a very

16 central gravamen of crime, which was the

17 impersonating Schiffman, the stealing of Schiffman’s
18 identity, and pretending to be - - ~

19 CHIEF JUDGE LIPPMAN: What's the crimes

20 that are most defensible to you, from your point of
21 view? ®hat’s your strongest case against -~ - 7

22 MR. RIVELLESR: Schiffman. Everything

23 against Schiffman, because he pretended to be him —
24

20 CHIEF JUDGE LIPPMAN: Everything that he

 

 

 

 

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 30 of 61

 

 

—
Woo Lt

COOSET INP Pucumen 21s Teo UsUZTIo Page 3 oT 54

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 35 of 81

10

11

13

14

15

 

 

34

had to do with Schiffman, because he was using his
name?

MR. RIVELLESE: Yes, he pretended to be
him. He convinced people he was him. He got
responses to his e-mails, believing that they were
responding to Schiffman, not just from the students,
but also from the Provost, informing defendant that
he was going to be referred to the proceedings to
determine whether he was a plagiarist. So he got
responses indicating everyone thought he was

Schiffman.

 

to the students he ~ - - he responded back. So he
was clearly orchestrating an identity theft, having
people believe he was Schiffman, in order to get
Schiffman, either fired, uninvited to the Jewish
Museum, otherwise damage his career, and help his own
father. And that's - - - that's clearly every
element of the statute.

JUDGE GRAFFEO: That you feel is the
strongest proof on a crime in this case?

MR, RIVELLESE: Absolutely, and - - - and
those are the most solid and central, and then the

other ones are the cones that are tangential, and also

 

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 31 of 61

 

CASSIS CTOTOT ENP LUCE cre Pie UNUcIO Pade 4 Oroa~~SCSCSCSC~=<C=~SsSSSS

 

 

 

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 36 of 81
35
1 JUDGE SMITH: And the ones - - ~
2 JUDGE GRAFFEO: And for those crimes that
3 you - - - the Schiffman crimes that you've just
4 mentioned, what is it that crosses the line then from
5 the civil to the criminal? What makes it criminal
6 activity? Just to focus in on those crimes.
7 MR. RIVELLESE: The strongest thing is that
8 he's trying to convince other people that he is
9 someone other than who he is. He's stealing the
10 identity of Schiffman, pretending to be him, and
11 getting them to rely on that, by saying - - -
2 2 CULER—JUDGE-LIPPMAN: Counsel, what. would
13 you advise someone who came to you? Would you advise
14 them to go get themselves a lawyer te sue, or would
iD you advise them to go to the prosecutor? In this
16 particular set of facts?
17 MR. RIVELLESE: Weil - - - |
18 CHIEF JUDGE LIPPMAN: Put ~- - — take off |
19 your hat for a second, and - - -
20 MR. RIVELLESE: Well, given what happened
21 to Schiffman, the prosecutor - - - that's clearly the
22 central and the most ~- - - |
|
23 CHIEF JUDGE LIPPMAN: You would clearly say
24 go to a prosecutor; it's a criminal offense.
25 MR. RIVELGESE: Yes.

 

 

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 32 of 61

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 37 of 81

 

 

 

 

 

36
1 CHIEF JUDGE LIPPMAN: These are criminal
2 offenses.
3 MR. RIVELLESE: Yes. And no, it's not an
4 A-I felony; it's not state prison, but it’s |
5 definitely wrong. If you pretend to be someone else, |
6 get people to believe you, and have them take actions |
7 or expect them to take actions based on your
8 deception, not based on your personally saying what
9 you think, but pretending to be someone else,
10 confessing to something that they did or did not do, |
11 because you can't pretend to be a criminal defendant |
Sy and-contess—to—a—erime-either,— =
13 You have to be honest about whe you are,
14 That's the real gravamen of the offense. it's not |
15 that he's alleging that someone’s a plagiarist. That !
L6 doesn't matter; he could be right about that. But
il fj he's saying that Schiffman is confessing to
18 plagiarism and pretending that he is Schiffman
19 confessing. Judge Rivera mentioned that before, I
20 think.
21 If you're pretending to be someone and
22 confess to something that person did, that's the |
23 dishonesty there. it's not that the person may or |
24 may not have done the thing, it's that they didn’t |
25 really confess te it; you did. |

 

 

 
 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 33 of 61

 

Ce CaS Sollee eee OGM ae OOO A TO =P aye oO
BS Belial Sa aye o Ur ot

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 38 of 81

 

37
1 CHIEF JUDGE LIPPMAN: Okay, thanks,
2 counsel.
3 MR. RIVELLESE: Thank you.
4 CHIEF JUDGE LIPPMAN: Counsel, rebuttal?
5 MR. KUBY: Yes, thank you. First of all,
6 it is state prison. The - - - he's convicted of one
7 felony, the identity theft in the second degree. The
8 prosecution asked for one and a third to four years.
9 Judge - - - Justice - - - former Justice Berkman, in
10 | her infinite kindness, only gave him six months. So
11 we are talking state prison here.
t2 JY DGE—SMEPH.—TSs = gi xumonths_.20
HRS very harsh for this - - - wasn't this a vicious thing
14 to do to try to ruin a man like this?
15 MR. KUBY: If - - - if you start with the
26 assumption that this is a good man - —- -
i7 JUDGE SMITH; Suppose - ~ — suppose a
18 mediocre man like everyone else, is it - - -
19 MR. KUBY: Or - - - or - - - or maybe a bad
20 man, telling the truth about a bad man in a specific
21 way, is that a bad thing to do? I don't know. i'm
22 sort of okay with it. You're not. That's fine.
23 That's fine, But we're taiking about the use of the
24 criminal sanction - - —
25 JUDGE SMITH: I mean, if - - - if - =

 

 

 
 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 34 of 61
ES UT COTE Nr DUCE zie Fed UNUaIO Page 7 OF D4

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 39 of 81

38

 

 

 

1 yeah, I mean - - - I suppose, yeah.
2 MR. KUBY: Yeah.
3 JUDGE SMITH: You aren't really saying it’s
4 okay to do it te bad people, and not good people, are
5 you?
6 MR. KUBY: No, I - - ~ I - - - I'm saying
7 that - - - that if you sat here and - - - and you
8 believed that in fact, Schiffman was a rank
9 plagiarist and had ripped off the work of many other
10 scholars, it would have did - - ~ different
11 atmospherics and moreover, it never would have been
= 1:2 broughtcinathe=firstplace,_because ———
ia JUDGE PIGOTT: Well, 30, if you - ~- - if
14 you - - - if yeu gay T'm A-Rod, and I admit that I
is did drugs and I ~ - - you know, and I'm really sorry
16 about it, and I wish I couid give the money back to
17 the Yankees, you don't see a problem with that?
18 MR. KUBY: Well, I - - + I don't actually
19 see a criminal proplem with that for the same reascn
20 there’s not a criminai problem nere. Exactiy the
21 same situation. Schiffman makes this confession,
22 What happens isn't the univezsity fires Schiffman;
23 he's confessed to plagiarism. The record reveals
24 they said to him, hey, this looks weird; is this you?
25 He says, no, it's not me.

 

 

 

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 35 of 61

———_—$— cS ETT SET DUC eine Fed UNUeTIo Pages oras~6©~C=CSSS
. z age 30
i 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 40 of 81

 

 

 

 

33
1 JUDGE SMITH: But suppose he's not geing to
2 sue - - - he - - - he - - - he did do it, I guess, to
3 a tenured professor. Suppose he - — ~ suppose he 7
4 gets mad at some poor adjunct who has to make a
5 living and does the same thing, shouldn’t the adjunct
6 be protected by the criminal law?
7 MR. KUBY: The - - - the adjunct is - - -
8 | is protected by the way things actually work on
9 Planet Farth. Nobody gets fired in - - ~ in the real
10 world based on a Gmail account, where they confess to
11 something that you haven't asked.
12 ITER JUDGE LIPPMAN; But—is it, counsel -
13 --
14 JUDGE REVERA: But is that - - - is that
15 what had to happen, that he would have had to have
16 been fired that - - - you have to actually have that
17 as the resuit?
18 MR. KUBY: No, no, you don't actually have
19 to have that, and - - - and even - - —
20 JUDGE RIVERA: What if his reputation is
21 tarnished in the institution? Nobody actually
22 believes him even if he - - = :
23 MR. KUBY: But if want to go - - — |
24 JUDGE RIVERA: ' - - - he's found not guiity. |
25 MR. KUBY: If we want toe go back and |
|
|

 

 

 
 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 36 of 61

Case 1:1b on 05971- Kab diindinet

 

 

 

 

 

wine 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 41 of 81
40

1 resurrect criminal libel in the Internet era, then we

2 can de that, But - - ~ but at least, since 1565, the

3 law has been these types of reputational harms - — —

4 CHIEF JUDGE LIPPMAN: Counsel - - —

5 . MR. KUBY: - - ~ are beyond the scope of

6 criminal law.

7 CHIEF JUDGE LIPPMAN: Counsel, is your

8 basic argument that in the practical common-sense
9 world, these are not crimes in the year 2014? And -
10 - - and if that is your, argument, why is it that you
11 think that they've chosen to prosecute? That they

S—_—S——— I chose to proset 2 a

3) MR. KUBY: Yes, it is my argument, Judge
14 Lippman. And as we say in our brief, this type of
15 Internet impersonation, causing people to think it's |
i6 the real person, iS absolutely ubiquitous in American
17 public life.
i8 CHIEF JUDGE LIPPMAN: But why - - - but why |
19 did they choose to prosecute this? |
20 MR. KUBY: I can give you a dehors the
21 record answer.
22 CHIEF JUDGE LIPPMAN: Go ahead. 3
23 MR. KUBY: Because according, at least, to
24 Larry Schiffman when he gave an interview, what !
25 happened was, he was upset about this, and - - - and

 

 

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 37 of 61

 

 

C37 « . r
PbS ——Doewnrent ars met UN Cato FPaGe LU OF 34

Cay

€ 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 42 of 81

4)

things weren't happening enough, so he contacted one
of his pals in the PBI, because he had done forensic
work for the FBI in the past.

The FBI hooked him up with the prosecutor,
and - - - and unfortunately, both Robert Morgenthau,
the former New York County District Attorney with his
long relationship to the Skirball Center, and
Lawrence Schiffman with his long relationship to the
Skirball Center, had a lot of sort of overlapping
types of relationships.

And the assumption was that this guy, who

 

 

13

14

15

16

17

18

19

20

21

22

23

25

 

 

7ealy-has ne -power,—no-authority, would just take
the plea that was offered, which is, hey, a single
misdemeanor and three years probation.

CHIEF JUDGE LIPPMAN: Okay, counsel, thank
you both.

MR, KUBY: Ali right.

CHIEF JUDGE LIPPMAN: Appreciate it.

{Court is adjourned)

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 38 of 61
CAS eS STO i ORO GHOMEE—PAE TEU os

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 43 of 81
42

|
|
:
2 CERTIFICATION

4 I, Karen Schiffmiller, certify that the

5 foregoing transcript of proceedings in the Court of
6 Appeals of People v. Raphael Golb, No. 72, was

7 prepared using the required transcription equipment

8 and is a true and accurate record of the proceedings.

10

 

11

 

 

Le
Signature:

 

13

14
Agency Name: eScribers

15

16 |
Address of Agency: 700 West 192nd Street

17 |
Suite # 607

18 |
New York, NY 10040

19

20

Date: April 2, 2014 |

21

23
24

25

 

 

 
 

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 39 of 61
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 40 of 61

Page lo oF oo

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 45 of 81

 

8F s)SalIy :10n299

apnaay siios eis Jo Siiennasuas tusdajfip ees OisaMiap AM Petes, Bisidat
oak HH aff JA

 

 

 

Toy SNOSded (TATE Sang GP ads YOHOAYT , D,, SHO PUPYHS SAPNjOUE
~(NOLLINTT ad GIUNFAXS dN) (TORFSAORA TES

 

fe jo Alazes amNY Bue ojeipouiuil Sift Silisuia OF ST
ATPw Ts} Weyl Populwes ole SojATas GY} JO SiSGuUSW |j\/

 

 

 

‘Bye ‘sJagiaw Aja fjjM UORIeLaIUs JO JUALXS “SHOUPUIJ JO/PUE
TSSillodxe Peleys ASCH Pojzejal aINSiaj 40 YIOM & Jayla Ul JaYJ@DO)
JUGS Bulj3 {JO JUNOWE 10] PAyLU]/ JOU ale joy epnjoul Gjysuonejes
Byjo ADEWINU! Sy) Hufuiliiiajap ul Sissel ACW IBY) SJOJSEY {/BUOHIPP YY

 

 

 

 

TFOS[ATeOns jOsjed aly} JO esuodses
BY} [SANDS? fff PIUIEIUOI BI/AJOS BY] JO FOGU/EUI OUT 5, "diy suojesas
3]euul,, Ue S} Uosenb U) Giysvoneas ay} J) Su; Wsezap O} Byqeun
dT, GQhSuGpejas aje wii, Ue BMPSUCD O} PSelsap aq /jeys pxayUuOD
]B/S05 Jo JEUGHeanps ‘ssauisng & uj AjajOS SfenplA/PuUl OM} vaaMiag
apezoiajed ATPUIPIO JOU BOUETUIENDSe jeNsed B sey yen “AIYSUOnejas
Sy) Jo UOneInp af Due *suoOSJad ueamjag UO/IELEIUI JO AQUANDAAL
BY! 1), HRWNUI,, PAJSPISUOS aq O) B4NjeU UI Jenxes 8q 0} eaey

jou Saop sealed paajoAu) al} Uaemjeg GiysuoHje/as 6y2) GIYSUONe/es
{0 8A) 40 GUNlEU oUt :0) 20] Pauly } JOU a42 1Ng apnjoul »CIYSuONe fas
BeuMhul, ve S| dijsuoje/al e JaqIaUM Bliujiisojep Uf; dapisuas Apu!
BaiAles oy] JO JOqGusW & SIOjDe.f “SSX ,,CIYSUOPMCJas BROUINUI,, UE J]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

      

 

 

 

 

 

ae WpMayu! UD Wi weed easly 40 BAD OY PUB (OTe oy

iMinsuwsuod Ag pajnjed jou 2p V{60S 1) 'Ou
“OUT Aur 7k 1041}980} posal] sary 10 POLLivU

usaq saeq saosred yous Jopeqan jo ssa[predar uounmoo Ul priya & oARH ‘3
‘(Ayiumauesao) poorq Aq payejar ary “p
‘(Ayrayye) adetrem Aq psre[as ary “2.
Jayjyoue auc 0} patie Apesay Apounsoy 9194 “*q
“JoypoOUR suo oO) pare ATedal ary ‘e

‘ogas stosiad

sapnpout - (Tov TWAS ATINVS NI CANTIaC §v) (IOHSSNOH/A LON VA
mMO1AQ .8,, YINONN ,.2,, SHOITAIPANS Uy paquosap tgsusd

asa

BO} palweyy St ‘AINO anpesoid sup jo sasodind 103 - }

 

 

“SNOLLI Nia5Q
“uonmyed popuedyg - ppoyosnoyAptmey ot) iad se syaquiscy
yOTSHoy /ATIUIE] Usa4oq Ins90 JET} sasMayyo soIVO pur sasuazso ATrarey gso00id OF.

asodund

FINAIOIA OLLSAWOM/SASNATAO ATONVA

O-TO-T9 « -AANISYY 91k OE-8EZ ON SINDMOL

 

 

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 41 of 61

 

 

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 46 of 81

—_

      
         

6o0t “Ator ¥dd D 06F

yeIp wot syuRurEydteros estApy
WLS NOLO sla LNSYHAONOD NAHAS

"Dns Ajiuie=] 0) OD |SAW jUBU/E/GUIAD Oi) “abe Jo SieeA (Gf UBeixs
“UBU} SSE} S] Jopuayo eyj ING Jew ese sjuewals (Z) om) Jsuy eyj f ‘UNOD
feupatig 07 0B LSNW JUBUIE/GWOD OL} ‘JEU JOU ave SjuaWajs {Z) OM] JSAY
BY} {0 JOYE JJ “OLUf] awes BY] Je uonorpsun[ eAey O} UNOD jeu Pue
uno Apes yjog sOf JSIXO JSNUI SJUBWE/e BAOGE SU) JO B64U} il’ SLON

 

  

 

 

 

 

 

‘sapjo 20. 99u Jo sue9A (9 [) werixIs Si Jopusyo om *o

   

pops GaAN ey? SMIpNjIul LON Puy) ang
apa Dil Wy poUllap sv Cysuonapa pjoyasnoyApma] F | [60 $ Lb ‘O'll
CINW {paytuitos tieeq seq (2A0ge pouljep se) osuaypo Ajurey vy “e

yuayA DOyStpsunl juaLMsNoD AABY HNO AppurEA puek [NO feuTUA

wos, “Aroue] aus 24) CTPTAL Jo] eu pse(qny aures Sy] J9AO tonsipsunf saey sLinc>

jusIOUIp Bay s1sXS HONAIpsLNf weumauED - NOLOSTa INSTANINOO

“UTpOTA WuEMTE] urd ary] JO WARA}E}S ay} UTD Joyo FouspiAd

Aq 1our oq Kent pue sosue]jo arp ut parydde piepuris oy tay ‘~TNaWaaaId ON ST

sastayjo 22uefOLA DSsMOP/asma]yo Ajmiay Ut pordde paparis ,osne9 opqeqoud,, UL

“paytmm0d usaq spy to Bui9q

si astiayJo Ue WIP sAst[ag a) UCHINED a[qeuosEal fo uosied # PEA, DMOM Yotya, ‘f29170

aorfod @ yo sade oly Yenonp pomai ‘s9e) JO BOnEUIGUOD Y - ysawo Ttavdord

"HOMO pow] Jo ‘agIaAtp “U onuredes sipusd

2 Wi Jopio moo eyo pred se te quouryoue Soamipnl eioarp ‘aaizap uoqeiedas

eyo und se uneg guisidng amp Aq pansst on ospe Ket uOnsoOld JO 4epaQ oy

-souEnsst Jo jInod cty Aq sieudordde payunap uoMtpude Jetie Age

pul LONFSIA TO sino ‘FoLawtag yo suOTTpUCS ayreeds uni antetdmos Suuinbes

“ETD guiaidne S119 FAG A AON, AU 1 “UROT) Artie. sig YO vey “UROD

your) 19 OA MON eq} Aq ponss! opso ty - NOL OA LOU 10 WACO

"PNOD AIL JO FEUD 2Y)

Aq a8U8o} JOJSIC B JO UONBIOASS JO UOISUSASNS IQBWIGING 0} 4eaPUYO
UE JOBIGNS {JIM YIM SUONO{AUGS JBUJLULD JO JSI} 84] Of saaubap Yypno]
yGno.yy JS1y ay} Us Bulyjezg JO SeuisO ey) Sppe osje Mef BY L 3LON
(soas3ap yp PUR “0 ‘pat nL) Sorarers [40-40 ABU]

' “soyOUR IStEPHe ‘(aaage ,2,, FINO

.®,, STOISTATpgDS) TOV LYNOo NTDAVA FHL Ni (aNISC S¥ “proyssnowyApurey
guirs at} JO Jaquisw auo Aq payfunuod sl JETP ~ aasPap _¢ 19 .,¢ auneusy
yuemuodurpug ssanoay

iduiayy 10 saldap .¢ yess

dordep _,¢ WoUIsse1e]Y pau.esday

(soed oegnd # mi popriurcs

TON aptog Apaprosiq 0) suTUNOMe 8192 Surpnyour) yonpuos Ayapzosiq
jdusay 10 9938 op 7 yyoess¥

BBP oF 10] yusuisse sey]

-aurpnsuos Aww qoryas yor Auy - ASNAAIO AIUAVS

‘(MONELOLA 10 “IOURstBapstm ‘AUOTAy) papiaoid

st omy & O4 10 JUsWIUOSTIdUT 10 Wig) B 02 JOUTIHES BYDTYAL 10] ONPUGD ~ ASNAALO
“aIYSUOUDTA 2 Tae] Of FayIPGO) PIAL SAdyf 40 2nj}

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

OF-ROT ‘ON ITI PIO1T

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 42 of 61

 

“TS of 54

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 47 of 81

“6b

 

sjsonry 1109S

« MaapyyyD paroasyoW 40 p2joa| Ban
wasngy (QO Suedsy pur uOUDaUSAAUL Ag7 Sonciay MoueBrewg, _
‘COSTE ‘O'd W pomp sv Ansisoy peuaTD ores aM AIMEE pue “PST
-LEEGd) LNUIALVRLLIVW YO ASnsVY ATH Ca.Loadsos
AO LUGAAY Weded ‘pnodsar 0) sostalodns janed 947 ysanbal ‘year
[eroam io peated s ppogo agi Ol ASL WOU ue syuasard pyoyasnoy{
au) I pouRsod ParmmuoD pug palren{et 10 prdapseu ‘Dasnge st
(g1} nosyata voy ssay pry Y SPIAdSAS NIAVNOS Va tqmem PFT (1)
“Wwammranpaud Jo ‘esnqe
qooj8ou Jo simyoLA aq AW OYA BUOY 34) UI yussaid dospylyo sie S1Sq LP
'ISNAIO ATINY A ® solransacs esuago oq] *
TUTOLA NUMTTE|dus09 Aq peurEAQo GOsq sey wOoTIe}0Ig JO JEpIO Wy “4
“payTENdo? teaq Sey BSUSO ATV 1eU} SIsIxXe aSTLO afqeqorg “2
‘ oTayM SULA] aC] *£
“ pinpaoorg [eiatioc) - Aodorg SUISOAUT,,
'YO-QEE Od YIM soMRpPIOONT UL PasatpoNoA aq INU (die ‘Gurney ‘saodran
ho {) 2OUSpIAS sauapOIA INSOUlOp -aO (Susdorg paseumqeeumlg]
aqatst a Jo AudesBonoyd persicl) oeuoforA oHseMO SesUAVO
Kyureg,, “6¢-R0C “O'd sad se eseqqerec] Ovo TENSIG A5us]01A
aysewrogy syi o7mt papRoydn aq [Tbs sydextojol[g ‘soue]oLA ANSoMOp JO I1NSA4
e se Auugdoid poSemep Jo/pire sauder opqista SET] MNYOIA E osatpAr SeSv [LE UN
BiAaMes [MITSTP eoua[oiA ONSStOp ay) dun syderfojoyd xz P [20 S AL ‘ol
‘(amdsrp Suunp sopuayye Aq
voysstupe “F'9) quaseid suosind so sours proaad pue sowsplAd yoa[]OD “9
‘gaualin390 JO Ot ye luesoid Sassou iA Abe Jo sure ot] SYED puE ALoLAIO NT “q
“ATALY UV daS PaAtosms suosiad malAlsyul “2
“SOU TT! MEpaosy *Z
jnozedde st poou amy 10 paisonbas JI ooneisisse [RTpIt) UIeIGO ‘1
SDIANAS 3H1L AO YASINAIN GANYOSINN
(NOLLINISAG GAANVEXS GALAN) PloqesnopyApiory cures oT Jo STaquiant
SuyA[OAuT suapjout Aue ‘jo payNey sie 10 ‘o) puodsar Solara ayy JO sIsQUTOUl Ust] AA,
aungadoudd
“MBT OMposo1g [BUTI ety JO
OL OPT Wouses Te (fF) Moy WOISLATpATS Ut pequiasap ssouelsurncns a) Japyn
2peUI oq JJeUS IopUsyo pshai[e Ue Jo Iscame oul wy ‘spaoaoy ‘Burasaoaid
Jgipie SuUlNUS WO? 40} smMarNbed # 10U Ss] SaUe He ind ‘durpeseosd yneg
feUTULID & IO UND Aplorey @ Jo WOUTSQUSWALUOS 3} spsould Aem jsoLe Ty “9
‘Kue Jt Jsoim roy jsenbei 10 ‘Tale Jo Oy aq) $8 On ‘uonued pmoz A[rme y
Io poatNysu! Aroyesnoge OP [CO BUI JO UII atp Je PyeNTUT St “ZR WORIES
Soy pn0> Apres Jo suorstaoid ay] 07 yoofqns uonoe 10 gurpoacord y "p
‘ropUaTIA amp JO WONSIAGOD fEUIWTS B UT YyNs|l UO pue Iapmayo
arp Jo DoQa2¢01d 10 asodind aM 10] st SMG JEUTEUD oT Ut Smpascosd Ho
‘agodind sry soy doueged ysnomp
SIQU[ITAZ ase SAULOy BUyjSSUNGd IO SUYOSUNGS 10} STE-LAY ‘nonaojuid
urejqo pue coudnusip Ajrarey ary] pte ‘aoua[ols acy dois of Sandtusnz
Jo esodimd a1} Joy st pue Suipasooid [ato e st Buipagaosd une) Ayure gy ¥
'SUMOD [RAMEE ay] pue UNE Apwey
(og im sasuayjo A[LUIEY 0} joodsa1 yA DONIIpsim{ yUsLNDUOS SI BU9Y., “2

 

9€-807 ON aaTIps301g

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 43 of 61

;
FSET BOCEITIETIO Se ee Cea TO Page 10 Or 04

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 48 of 81

a

 

600t ‘Gar Vda D c6r

Jeinogied ey) ff “8}EIG OA Man u) PaosOjus aq Aew ‘asnpeo0id sity}
Aq P8J@A02 BSUBsJOJA INSBWOP JO SESed Ul ‘(suoqoipsnnf jequ) ‘sayoysse)
‘S'f) ‘sayajs 1eyjO) sUGRoIPSLNf 19470 JO SEND Aq parnss) UojjIajOlg
JO-SuSPIQ—Poy-UaLUOAyJSUIEBE BouafOlj P66 b |19pe} 94) JApur) SLONn
“pNOD TeULUTLID
0} JU3no03g sapuayo s1) pur ‘areudoidde se YduisyuoD peumuL paeaciaay
Jo ‘ydusoquo7) [FUTUNEED JO SUID ME] PRUSg aq) SP pasimys oq [PHYS UONSe1OIF
JO LQPIC ayy Jo uoNEOIA ap “(WONIAIOLY JO Tapsy) Ue SIE]OIA Soop 1nq fies
40 PUR Wl SsUOgJO Ie j0U St jnouAo dura jo oae|d 10 aotlaprsel § juenretduros
or Alrarxoid mt ipdayyo "S'a) JOM 1 asuiayyo Be SAIN|GSAOS Os[e nouysMO1f
JO JapIC a) Jo TOMeTOIA arp Jaqpatas pure ‘ImMeES [EWI 10 “unos5 ouzadng
yrmo7) Aypure Aq pensst sea wOToAjO14 JO JapIC ay) Jeyaym ‘saseo [2 Ul 'q
WONIO1g JO PAH ayi Jo voneOta BQ IO] adtuyo aieudoidde
oi) Of TONIPpr Ut estayo TRY Yea pedieyo oq Isno SpujTo 'ssiagyo uy
SI Jap1O OU} SAL[OIA VEY Oe VY] PUL PSLB[OlA st UONII01,] JO Jopuc) Ue Woy A “Tt
“parselmy ag 100 1apuayzo yey sisenbes WITITAATEUTETduOS J} UoAd Jopualpo 1SeLTy ‘Lb
*GaLVIOIA
Naga SVE NOLOaLOnd 40 WACO NV AO CALIININO® Nat
EWH ANO Tad ANV LVHL SSNVD TIEVAOUd ST add INV TAISSHOONS
SVM WACNAdIO IHL WOT HOEVAS AAT WO INAS SI WACNSAAO Al
“Aambuy ay) loapues of foqajedsip suoqeonmimmeD aq senbas
‘AIMbUL 247 FNpuoA Gy O]QeUN. Sf OIUSLITIIO JO joutesid oy1 jana atl Uy 'S
‘Anbu aseqeiep Uonssiosg Jo iopig Ue yonpuGa OF waysAg | SANIS
al) awiado 0} paziioypmin sovuias am] Jo Jaqiitonr e ysanbas par souaLm90
yo »omoaid amp anoydeysy ‘mmMotAAPUTE|uoD OM Stturepsd ayy
Uo TONSS}01g Jo SHPIO od are areqy yewp spodar uatjaag uoNesgNTapy 4h J] “4
‘oyep uopendxa ap paw payqeposd
janpuos syroeds ‘somEnss] fo UNO ‘panssr sem UORayalg JO JOpIO
Ue TED GUaA 01 616-019 (Op9) 12 WoNseg CogEIgNUAp] “WOISLAIC] Sp2099%
JenuaD suoydeza ‘AID OA “AVN SpIsIN ponsst UOHIMOId JO SIAPIO 4}
JO ‘TMOD St UFashs Ioyndiios sty J] “N99 poseg Alin suo, Mayu Aq pansst
TON IMI JO SIspsE ]fe 1OF Yoeas e Op aL uoneordde sseqeyep yaueNtL
DOISIAIC] Spioney festa arp asn ‘paonposd aq JOULES HOASSIOlq JO 49paG J]
“goroajorg JO Japs sonpoud 6) eryorAjueure|daros ysanboy ‘9 [sa see ‘O'n
"GaNIV.LAO NEAa SVH NOLLOaLOud
40 Waauod Nv LYaL SSLVOIdNT WISTIAZINVNIV'] HUNOD NAEL
“.O]Oq WarOy 398 se sampaoold Sayiodas Molfoy pure synsas oanedan soonpoid
ores JI ‘suamar sepuayyo ways aotyod [29 0} TNs UBUTETdULOD AStApY °C
“syjnsar santsod pyatd YSN YorBas Yons Je] aAat[aq 0} GosBer sey IOCIO 4
CNY ‘Palepola Taaq sey woRSaOIg
JO JepsO UE YO poymmMod usaq sey SLI v TET] SISTXS asTIe) O[GUqOId “2
: SUsY4 Japtazzo soy AWOIOTA ayeIpaTUUT JO Yoress JONPU’ fF

“AOTIOd
a0 IVAMUY OL Wold ANAOS

 

 

WAICNAAIO NSH.
“PRESS! Of] [JM [PRG PSUOTONES 10 T YC OU pue ‘pajsene sq [pis royexjociod
ot] ‘Plo # IsUTeTe poysUIMGS tea swy IULLID BIEL SIBTXA OSNED ayqeqoad 11(Z)

 

 

“aunties YOns
Aq pasneo seBeusep ay} sof ynsas Abu AUGeY AIO Jeyuny ‘soueaU
“ADSI nv, SSEID & SI UOHeYRAU YONS BYE OF BsN/EL |AIM ALON

 

 

 

9E-ROZ 1ON SAUPSDIOIT

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 44 of 61

Stok. Let OY

 

Case 1:15-cv-05871-LAP Document16-1 Filed 05/09/16 Page 49 of 81

 

 

:6P sjsatiy 110493

“QDINOS AGRA JOYJO JO ULNDIAJUEUIE;TWOS
ayy Ag payddns voneuiosu afqipeso YBnosy} SOUAsiXO Ul Sf JOAIG At)}
Jeu) aAaljag O} asneo aqeqoud sey eoj/uas ay) JO saquiews PaulayUn

ay) JY) papinosdsepso BY) JO UALadIO{E 107 PENNoSF BG 100 1/2YS ail
Aue uo sepio ey) jo eauasaid ayy JaAemoy (9D) saquaD UOHeULOpU}
awig jeuoleN ey) Aq paulejulew aif Jepso UONsajasd By} JO UONIE)Old
JO SiEpUuQ Jo ANsiBas apymajeys G4) UO SIS}XE JAPJO BUY] JO plooes
esaujeym eynbu) JPYS 82)/UeS Bl) sO Suequualu paLwsoyUN ‘anoge

'(g) x18 dajs U) Ypo} jas einpesoud ayy 0} UOlpPe Ul ‘wpotaqueuje/duios
ay, Aq paonposd Jot! Si UOYIA!Odef JO JOPIE OU} YOIYM U} SESE Uy

"asnee ajqeqosd Jo JUAatUase S{l} {O BDUA}SIXB BY] YSI{JE}SS
0} pasn aq Aew ydesBesed Bujpesesd ay} u/ YLios Jas sauinbul 8
"UOND}QJe JO JBDIO
ay} Jo aouenssy aly jo skep (0g) AUG UUM UNO at} auajaq eadde
O} BIIJOU B YM UONIE}Od JO JEPIQ UE YIIM PBAIS SEM JOPUGYO Sy f rg)
Jo Ubgdde 0} Popes PUE LIOHISJOLY fO JBPIQ AY} JO BOUENSS]
ayy oF asuodsa ut ‘seedde oF 2090U YUM PeAJOS SEM Japuayo suf ‘d
UORIIJOsq 4O
JOPIC BY] JO BOUBNSS} 0} BSuOTdSSs Ul UNOS Uy paseodde sapuayo ay, 2
ysixe psn Buimoyos ay} JO AUB Qj SB asnes ajqeqosd
‘ONDE JU@LADIOJUG YB} O} JEPsO Uj “JapsO OL} JO GUeNSS! G1}
0} pyuodsal Oo} 4epsO Uy NOS ieynomed ay} ui seedde oO} ajep 8 jo paynou
sem Japuayjo ayy yey) suUeau! ApENUassa Si, ‘Pseay aq O} Ayurpoddo
ue aneYy ANOYS /jiM Jo pey Sey JapuUayo Slf} Jey) quawaunbes
JRUONPPB UE SI 134) ‘UOJOSTOld JO SUBPIC 2}BJS-JO-NO JO BSBO SY] Uj
“UOBUUOJUT JOUUNY
Waes 0} SinoYy ssauisng jeulJou 6uUNP s8pso ay) panssi }ey) WAS
au) feo ABLU AaINUas dy) JO Staquialy PSLLOYUN ‘uesseaau pausaap
si yons jf ‘Ayeuonippy sepJo aly} so afipaymouy pey sapuayo ay) Jey)
Ajliea 0} WHIIAAUEUIE}AWIOD BU) Y8e AJessavau w PUP #aps0 By] JO MAaUYy
AY S$ sO BY {| JAPUALYO ay} YSE PHOYS Bovuss ey} JO Siequieus peuuosuN
‘aonou pel Japuayo ay] Jey] esneo aqeqoid YS|jqeaise O} 4aps0 Uj
“4OPs0 BY}
Uji paalas AjAp SBM BYys JO ay eSNEIAg JO panssi SEM AEPJO aly} UBYM
noo ul juasasd SEM ays JO ey @SNEIAG JAY}A ‘UOMO JO 46PsO
ay] JO BoUaNSS! aly JO ,@9HOU, PRY sapUEYO alj JEU] Buymoys B aq jsnu
BJBY) ‘UONIEOLY JO JEPIO A}LjS-Y4O-WNO JO OjB}S-Us UB Lt{Ya JO UONBIOIA
e Jo) “eAoge Sabueys }dueyu09 feUIUIA ay] JO AUB @Gijeyo OF 18PsO U]
‘ajyeudoldde se (7¢'S4LZ
UOIJOAS MET jLUS_4) }AUAa}UOD jeuiLUTIQ peyeaesBBy 40 “{(p) 40 '(2) (a)
Le-Gtz wojoes mez jeuag) aesBap ISJ}} OY} Uj JAWIS}UOD /PUILULD ‘(e)
09°GLZ UOND9S Me’) J2Uaq) 9eJBapP PUOTES Bt) Uf }dUA}UOD /OUNL)AD
Jaya YM Jey 10 WY aGseYyo pe 4APU2YO BY) JS@JIE f}lA\ BO[AUBS
aly] jo suaquiew peuoyun ‘pseay oq o} Ayunpioddo uB pue Jepuo
84] JO BOOU Pry JapUAaYo By) Jey} PUB ‘PapejojA Uaaq Sey UOHIA}Ode}
JO JOPsQ dy} JE) AAsI[aq 0} ASNeD ajgeqosd Ss! Asay} PUB ‘(unos
eyo aansnf to eBpn{ e Aq paubis pasidxe jou 'a'{) 822) Sy] UO pyeA ag
0) sueadde esiaueyjo pue ‘ajqelJeae S$} UONIA}Oid JO JAPIC) 2]BIS-JO-}NO

 

 

 

QE-GOZ ross einpa01g

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 45 of 61

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 50 of 81

6007 ‘AINE Vd © b6P

 

@IONASNOH WO A TINS ANO NVAL THON LVHL aAsT oe OL ASAD
ATavVaOd S) AWA JHAHM “SNOLLVOLIS LNIvTdtOO SSOuO NI

“Agua uses JOA [fis snolaueurepdurpo fr _SITVEUSIG posTuayy,, 19109 ‘4
-Arjue Foy Use oF wMoLA/uEuTerdizos woabsy ‘e
| “Jaquism ppoyasnoy/A [Ue Aq souasaid
$ TQoT]JO ay] Ul peyiumuos TONe[OIA AUY 10 1OUVAUIEpPSMO # 1Oj ISaUe UE |UeA\
jou saop tanjstapuemeydiros si Anua (SbI-Z11dd) DOT ALLALLOY 8 S48 6
‘Ga10g443 38 CINOHS LSAYYV NY Yequely pjoyesnoy
Aue jo Apes panuyuos sy} jnoge s}qnop Aue sey i90yjo UP ff
| ‘Auapye ayy Burpnyour
‘ysl Je aq ABEL OYM SJagwaWs PjoyesNoy JOYIO JO BQUSS Al 6
“(-2)8 ‘VOHSO} XO!
joyooje 10 Brup) sapuayo ay) Jo ajeys /e2/sAyo pue jejUayy 4
Japusyo ay) AG suodeem
0} $8899B JO 40 aoUasasd 8y} JO ‘SUOdeaM JO ASN psUajeos| 2
‘(QQDUS{OIA BIN 4AYJO JO EPJoIWOY
‘apiains Jo syeasy} Ayeloadse) Japuayo ay) AQ Sspeus S}UBWAIE]S “P
"SESSOUYM JO SIUBWAILEIS 9
“LUDIA PUB BUSS AY} JO SUOYEASASJO S,JBWYO BY] “F
“QSEGBRIEQ JUAPIU) DNISEWOC] OUI
au) YBnouys Anbu) ue jonpuos 'eqissod jj *('2)6 paujEysns seunful
‘guapioul ‘sjsaue 201!) WOLA PUE JBPUEHLO Bly} JO Auopsiy jsed aul -e

(OL OZLINTT LON 34y ing ‘epnpu!

UONBISPISUOD ORI UBYE) ag 0] SsopORY “Ssequuely Pjoyasnoy TTY JO
AJQJES OY) PUS BIUa/OIA JaYpIN JO UONUAADIE OY} O18 JSALE UE quem jou
SOOP WOAAUBUIZ/GWUOI BY] UBYM SUOMELEPISUOD Aueuiisd 84, ALON

 

 

 

 

 

 

“sane tre yaas 0} JOU TOISTIAP Ss, WyIA 9y) 9}\dsop ‘asvo IoURSUIapsid
2 ULSALIe Ue ayRtU O} Vonatasip ou} SureIay OoLAsas oy] JO JOQuToUT psaLtayTun
OYJ, PaAsaLe puso on Sney O} STURM als IO tf JI TAA IG} AS¥ JOU [LEYS
JOOITJO SY], “pa|saure sspvoyjo oy) JURA JOU SOP ays 10 oY Wetp “VANBHTT
UAV Jaq] 10 sty Bo ‘Sarp)s AyTeayioeds urota aqp ssafun “Lapua]zo ath 1sALTe
slit OOLAFas ot JO JaquigN: psuLOJTUN e ‘MET aNpAooIg [VUIDTD otf Jopuy) °F
‘ropuaypo jay "g
“GONASAdd S HADIAO AKL NI CaLLUIWIAWOD N&Sd S¥H NOLL IOLA
VO DONUSadd S WaOIO AHL IO TNO WO NU CLL ) NdAe

SVH NONVANACSIN ANY LVHL Asnvo a 1avdOud Si AWIHT NAHM
'UNOD JBUILULK {220} OY) AsOjaq JaPUayo ou} Bug 0} paanbes ae
BDIAIOS OY) JO SIBGWALU PAULOIUN ‘JaAaMOH ‘uonned eB Bury Ag LiIn[D
Ajuie4 ut Ajuapuedeput paasosd 0} jY6u 8 SPY BYS JO ay JEL} PaSIApE
OG JIM WHIIAAUBUIE/TUIOD OY} ‘UONIA}Oid JO JAPIC) HNOD Apituey eso
UOPE/OIA JOL PEW Sf ISSUE UE UBYAA “SISIXE ASNES aigeqosd Yorum 40;
asuayo jeu quaupad Aue yy psbyeyd aq OS]E IM AapUayO AY L
‘abseyo jAUIEIUOS jeURULD a1eLidosdde atjy LIM pebseyo aq {VA Japusyo
@tf{ “J@D10 Alf} Panss! Jey} LNA ay] Jo sseipseGas UNID /eU;wiHD

AND yO, MAN Ul Passavad ag ‘saseo TTY Ul ‘YM Jsa.ue Jay 40

Sif 'UORIO}OJg {0 JEPIQ Aue HuyjejoiA Jo) pajsave 8} Jepuayo ue Ua

 

 

 

 

 

 

 

 

 

’ GS-ONT +Opp WIND?
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 46 of 61

TOUT 52

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 51 of 81

 

C5

 

 

 

 

Sor sjsairy = 01325

‘SMOTOJ SB WIQIAAuBUTEyamros Jajsy “pT

 

TADNaASd ad Sako SAL NT LON GaLIININOD
Nawal OLLV IOLA ANY LVN ASO a laVdodd Sl TuaL NAHM”
“Anup uBts FOU PM wAAUEUTE;dmod Jy, oIMBBUSTS pasTpey.,, Jy (z}
‘S170 HOT Usts oj won pTreURydwos ysonbay (1)
“APBIE Oq 0] ISSLTe Te ITEM JOU SSOP moa MenTE(daas ayy ey) 9B FG
‘sossaidSe peashyd-Aseonad arp sen opaaso semonred
B Jeu) SUITDISp 07 APTIgeuT Jo VONRUTUA}ap Ul pajjtises EUR SIO}OR TE
yo fue DOT ALIALLOV Ye eA EL

(ia) wBle days Buimoyol LON 82S) “Ssequiau

pjoyasnoy TT Jo Aejes ay} Pue BUafolr auniny JO uONUBAaIT OY} ase
ape ag 0) JSAUe Ue JUBM JOU Seop WwdAepueyo/jUeuiE(duod ai

Way suoHeapisuos (yeu ay, JSeve ve poaye [HS AG Faayfo At}

Paseue ag jOU Japuayo ey) Jey) aysanbey lia Jepuayojueule;dwoa

By ‘Gulpaesod jenn e uy ajediogued asimsayi0 40 ALS}

0} uosved & jo ssaUBuyyim ay] UO JSaVe O} {OU JO JSOMUE Qo} UoIsigap

easeqjouod Ajejesedes puleduos yore syenjerg “syeguraul

ployasnoy 71V 0} Ales ayy pue aouejoia Jayyuny JO UONueresd ay}

$) UossaviBe Asewiid ey} 0} UORIPPE Ul ‘eyossad sayjo jsause oF WaypayM

Burpjoap UsYM VO}EIEDISUOS Aveuid sy, “Ppaysawe aq “apejjGosIse
Bi SSIET Ylog TOSSaubbe (ESISAGT ALEC Bt] SM OUM & Tus Sp
6) B/G Sse HIIAAS Syl JO Sagise PSWTIOVUA buipuodsa/ ey] aeum
USAS JeuLhy Seed yjog jseLe oO} inva} Sq PjnoM } uossei8Be
fearsxyd Aseusid au} SEM ‘quokue pf ‘OM SuUILUJa}Jap 0} B{GEUN Be
alas ay) Jo SJoquia pauoyUn Bujpuodses 64} pue SJQUBBWOEPSILt
asuayo AJP} PAYLUWIOD BABY BINGSIP BDUS/O/A DSSWOP Je/NIIVE &
o} sanued Yjog Jey) BAsIaq O} asneo argeuoseay S} aay} SJ84U FJLON

‘4saure ot} Hep Os

Aur 139YJO BYI “Parsae 9g JOU Jepuayzo yey sysonber unjorajuumepduos 3] “eB

~sogsaiaee JeowsAyd Areurtid om) se poynvopr Iopuayyo oI ISssLTV 71

“rostAradns foged 943 WLAN JUD ‘T]

 
 
 

 

 

 

 

  

 

 

 

 

 

“anoge ‘(a} 1yG1a dais Aq peuiribe: se paeoo/d pue
Josseibby jeasAyd AueUdlid, 843 SEM OUM SUNLIOJOD JOU Jeys SIBILWO
aayod Guipuodsas ay) JSed BY? Ul 4ALY JO Wt} jsuleBe PEJYU/LUO BWHO E
JOJ VOYNGLREs Ul 40 0} aSUOdsad Ly] JOQUIOLI ptoyesnou/Anuses @ jsusebe
jouBewapsiu esuayo Apusey e payytuuoo sey ALed BUC A1EUM FLON
_ “Aang
Woy JSIoy 10 jjosumty yoszoId 01 Apoalsuajap Pee uossad yous Aux iompey Ay “Pp
‘urmpoase A[quuaseal wes gofatas am Jo Joquisur peuroyrm
otf] 18up AOUDJOLA IHSSULGP JO ATOISTY soud b seq sonsed aq) yo Ane zeypeny “9
Saqutadt pjoyssnog so ‘Ayrumyy ‘Azad soqnouy yurese
TIE MIN] pouayeasp WAY fo SuTUsIeaNN aF sated oy3 jo ATE soya, “4
‘soured ap uaemiaq pur Aq posotysur seuin(iT Aue Jo qwa}xo saguredaos ay] “2
TLIO ULM OT[O}
oq) Suuaptsuos Jaye Jossardse TeorsAqd Arevoud ayy Ajneapi o ydnepy ‘OT
TLMACIONI OLLSSINOG SIONTS V NI SONASH ad § WaeOLHIO FHL JO LAO
WO NI WON VANaGSIN asNaadO ATA ad V CALLAO SVT WHaKgN

9€-80Z =ON ONPI00Id

 

 

 

 

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 47 of 61

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 52 of 81

 

 

6007 ‘Ang Vdd @ S6P

‘uondes , SUOneBely JO }U@WAIEIS SWHOIA, Oi Bjafdiwoo JUeUIE;AUIOS
al) @ABY O] epew aq pjnoys jduaye Alaay ‘Japuayojueule/dwod
yora Joy pasedesd aq Ys ; odey juaprous 2psswog PezjpsepUeS

__ SIBIS FGA aN © 'suOHeNYS juje;auios SSol0 UY ALON [ros Zou

‘{HAPTOMT SIP) SaUIA9UOd JOOIO uUcywoAaL, GoUA|ATA,
ansamog jute ay Aq poyoRTOS 34 Kev Kau perp soyted []e Wu0sT] J
~masoid J} ‘mmo jueurey das 0} (Adoo plod) soqoN aoue]ol A 9NSaut0q Pur
(Adoo snd) poday jueprou] ousomeK] PAZIPIEPULS BLS OA MEN lH O
VON “CT 20HO. papnwa uondes
TI QdtALas aU] JO JaQuisul Sunrodas Jo IaqMMN XBL Wasuy "Pp ros2‘o'l
(oye “ZAqcINM JAYONOA *sTeLieyal
+29) UONRUMOZML JAYN} Wego 63 IeITYO TOTMsAelg SIUSfOTA otsetO],
Sup OEMTOD 0) TANIA AMETTE[dUOS asTApY “yroday snepioul WAsewOoCd
“SAIN atp Jo Adoo 19k] oy? JO Tear otf TO patud st pCO wouTsAeAg
QoUsforA, Iseutoc outdeid ayy Jo Fequina auoyd pue sted aq JEN) aTISUTY “9
(oie ‘Burdesyayes
‘gonapiAg JseuE “d'9) “‘pOACIIDI Ayradord Aue par rossai3Ze yeorsAyd. Areunuid
amp sam Jopuagjo rumoured & eqs SUTEMISTep 0} Axyiqeat 10 DONeUTULFSIOp
OP parpassr JET] s1OII¥Z TTB VOHoas ,AWAplOU] JO SANWUUN,, Of} TE ST] 4
“uuo). vo squint gol INTAdS Aprisut Ut oFpes B 9 ssuodsar mm paiedoid yy “e
“aenqe pyro go Bonesayje ue st ao “UONTUaCL papuedxq-pjoussnopy/ Aye y
omes otf) JO Sxoquiam saajoaut (aindstp 10 “VO!GACS ‘goUeCIMUSTp ‘MOTRIIAyT
Bra) yrapjout tre jo pastidde Fenuasv.g YO oy ostodsar YAN Th saoumisin TTP
m (LZZE SLO) Hoday Mapu] opseured POZIPMPUTIG MRIS AIO A HON aivdalg 11
yogi sutpoy ACOH: (79-C0S-1 atpracud
Aq saolaras Tayo pue {siJays Jo Ayyiqeyieae jo TyolA quvuretduios estMpy 9]

 

‘SaSVO TTY NI

 

“Torjoes ,UONStPSiMs WaALNSUAD - suonTayad,, yf Ul peutjino se ymos yore
yo ssodind ary pur wot) 0) a]qepeae snos stp Jo warAfTenreyduos ssiApy “|

 

STS NOLL fe TNAWANONOO N&aIIA\

 

(aaoqe ‘(q)4 ydes8
-pied eas) (9) so {fa] Q)4g°S 42 YOHOES MET JBUSd '901B0Q JSsig Ou}
Us JUWaIUCD JEUILUID 40 “S)OG GLE UONDES MET /BUESd ‘agihieg puodses
BY) Ul JOWUBJUAD fBUIWIID Sf abyeyo sadoid aut "WINDIAUBUIB;OWUIOS
BY] 0} PANSS! VOYSE}IOJe JO EPIC IUBUINS B Ul payqnold Ayeoyoeds
g} uoejaia yons SSS INA AONZSAYd YSH/SIH NI CFLLINNOS
LON SNOILYTIOIA 10} SOLE UP JOBYS JOUUEI 19040 uy JLON
Gano) pounay)
Tyg SMOG Of ~ SUERTIOM esue{Jo WpMigy- VOU 1G PUD PAdGD .,Y,, PUL
5, SHIP PS Moneg papundxg - ployasnorpeeT “9 [60 $ Lb ‘oll
(og 10 pina soya 91 08 APIO jaeuretdimoo
‘gistxa Teolpsunf yuaLMo9a09 Jf) UMOD [eaTVLID - Hef suOUNUNS (a)
yor Aprare.} (1)
101 ‘UOTBTOU esusafjo
Aqrarey (ALY ‘Vy umog Ajrumeg ut penyep se ‘sioquiem ployssnopyATNEy “@
OF-S0Z 1ON BINPIOId

 

 

 

 

 

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 48 of 61

age

Te
Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 53 of 81

Gast 1.Lo-

 

 

 

L6P s]soary — 7T01}99S

yoqed Aq ape jOU S$} JSAUIE UB Jf ‘SEIUEISWNINO Bas] GACY OY}
uj ,Uedo, Se passed 8q 1SNW LYOdzy LNIVIdNOD %41 ALON

 

oT __F"ents rourvatmapstpay(g).. ..
TONIAIOLY JO 1pIH ue Fo (sjwoNelat, (Z)
(s)Auote3 (1)
soy poredaid si FYOMAA LNIV IMINO a4. - penbs aanoajac] youroes] “€
2,0) polrafay 1M7,, pennia toydea UF ayy "Oe

 

 

‘LHYOdDY LNIVIGHOD Yes {0 LO}}IeS , S}e}6,

ay} u) papnjoul eq JSNUW UOGeUUJa}ap jeYy) eye oO; AIGeU! ay} UL
paynses Jey) Siojoe ay} sossebBe jeoisAyd Areiuiud sy] sem sapueyo.
YOIYM AUILUAJEp 0} 3}QBUN ese BOJAJES OY] JO SiEqiUaty PaWOZUN
Buipuodsas ay) aaym pue SIYODAY LNIVIdWOD djoul JO (z)

om] jo uogeseda:d ay) Buyanbes Suonenys jufe;dusoo-Sso0.) ul FJLON

 

tossadse eoisdqd Areuud,,
tp 2q 0] JOU PSUMES}ap Sea Japogyjo OTM 1eTy Wswaleis e APNpOUT [TEYS
TOUS , STIOCT,, OF} PUe ,. ONE”, 0 GASOTO 4 [leUS ,dossousse pearshyd
Axermud,, ay) aq 0] JOU pouruzajap Jopmayjo ap oO} BurMTELAd LOM TA
LNIVIGMOD FU, , 1ossousse jeosAqd Araurnid,, ayt sem sspuayo
amp eq Woeuisieys e spnyour ‘parmbar sr, jossoa#Fe (eorsAqd Arewud,, op sem
sopuayo yorqn aumutisiap o} druaje UR gsyAA ‘SUOLEN}IS yuTR[duIES-ss019 Ty 'p
Japuazzo jo (s}uontool ayqissod amp ‘Iuasesd you sapwayyo J] "9
pte ‘moa Samssy -q
‘payjpe U1 st WON Is07g JO Jopig Ue JapayAy 'e
‘S[t2I9C,, HP BT Spryauy WoRs@101g
JO JOps_) UE JO woHLpOI ary Surpnyout ‘sonnyacr popuedxy-proqosnoyy/AprAR A
SUIS Og) JO SEOqtIAaT NaaAjog PalMEMUOS tag sey FSNAAIO Ue sadoyye
wstApuEUTEy dao way Lode y Wweppauy WDsoMIO *S" AN BG} O} UOUTpPpe
armors puenrefdwos yee 10] (ZST-LIEdd) LUOMTA LNIVTdWOD sedarg “61

ADSIANAS AHL AO YABWAWN

‘yDowMssse ay) sZITEUy 0} sapoa
aaoge asn pur raypiedsiq] Aynou ‘Z¢-Q1 [Buds treq] JompO se pozLIOsayed
ATTEONN sem JUOUIUStsse oy] JJ “@poo WoNtsodsip Jamo Aue ydacoe LON
[PA Dopsss snogrotanummcD TonMmyag pepuedxg-ployssnopyé rey

B SOLA{OAUl JuapToONT Aue azteuy o} pesn aq TSN suonisodstp asaqL
paredaid WIC/LYOdaA LNIVIdWOD Al6-O1 P
peredaig WIGpaoagy selry AT6-Q1 “9
papunojupparedaty yc (Z)406-01 4

YO ‘osaeyjo we Jo yaagy stp 07 ssu you pip qorqm aindsip 2 0) popuodsas

 

 

AdLAIAS OT} JO JaQUIIM! PaUTOFTUN sy) Day sooUBISU] 2SOT) Ut past aq 03 ATIG

‘pasalpy esueyO on/peredarg wid (1406-01 F
JUDUTUBISsE AZI[EUY 0} suoytsodstp apos orpes asf “81

 

'YysiBUg ul ayuM oj eyqeun

# eBenBue; Gupyeeds Aseuiud say/Siy Ut ajin O} LUNDA ayy Moye SAMI
“SASNJA LURDIA EY SSajun ‘Ysi|buy Ut alum JO yeads O) ajqeun S}

WADIA ff , @AOTE SC ALES, 10 ,PASNJay, UdYdeD ,JUBWAJE]S SUNDA, UI
J84U3 JON OC ‘Sailin so syeads eysyey abenBue jeym Jo ssajpseBas

 

QERAT OA OTT AIOAS

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 49 of 61
Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 54 of 81

6007 “ABE Vdd @ 86r
yuiojduio2 snowed ay) fo foosd sp jaoday Juaplouy Dusaiuoc, 2yt Buyuasedd

nsaaap up isonbes pun zapuaffo ayi yz JIOTUOO jxau ay] UO aayod ayz 1201403

of unionsysumanpduoo up asrapy 9) S| wowon fo asinoo paddaferd ay]. Jt SUOMRUNS
= TAMOD POUND Yi Ol patsafes aQ TON pineys sasvo Aoupawapsyyy SuOuMins

aty fa aatdcas dOf agujiOnn Ss#4ppv 5, dapuasfa ay aaADy IStias wanda, WIKI} duos

BY) ‘Lag SUMMING - LINOD [DUUAdD ay) 1 pa.uuafas ssn? UOYDpOIA Uy

 

‘ADULION PF IOLYSIC( JUDISISSY DO] afqoIDAD paisa4do uosaad ayy Suipipses
pasndaad sidoday luapyouy oSOWOCy {JD FyOUe ]/1M JIAO uoyUarsig 33U3}014
\ susamog ay) ‘paisanbas ways, Wuaptour oy) Ol span8ad 1 pasodasd jsoday juapjouy
ansauece ayy fo dor v yJi papiaoed 51 KausONY JOLISIC] TADISISSY BUT 10 yy aansua

isn aaoiffo Zunsa.ip ay? 'parsfJ9 St aio uv ff ‘aauaunose fo joursaad ay) JP
pauipjurpul aq [sri puy ‘Tojdazvut Bibsoy joyuajod ap ‘sioday wapjouy 27SewOT
|

‘agiasas fo youlzadd ay)

un papi ag grat (anpy) ho away ay; pup sauonued ay! 0) wand ay pias (artiear)

Adoo jourSiuo ayy “seoiffe daosmuadns b adafag Of MIMS AABUOT OM S17 ‘mLiof yj wa

sudan? TP Sunajduo2 saifo FIIAHIS TWNOSUAd AO LNAWALVLS 24) uais

| }iss pauasquon daqideut prusofitange (261-0970d) FIIANAS TYNOSUAd AQ
IANFINALEES aupdoud jjim aoiuay ayy fo suagiaatts paxuofiun ‘wopued 20 ‘siemens
tuoyoajo2g {0 «apace uD ysIM fuapUuodsas D VAtas OF uauonuad p dq parsanbas av
OY aIidsas ay) Jo S4equuaue pa ucefiun Aq ssounspadda j4n02 CiDSSaIA UU PIOKD OT

BAIS aE {O Ssaquiayn
pauuofiuy Ay uoyaa104g {0 StapaQ Jano awasdngyne? Ajay {0 ao1nuag,,
VOZIT “Did M1 Burpsoson paaias ag fp aoyod sy} oF dppaaugp peasagpap PUD jG
APUD yy ays Ag poss) MOUPaTO _f@ ssapid) ‘would 4a ‘Suoimtuns ‘UONIII04 dg JC
aapad wy fo aowas ay) ut isissn ‘aauoyed 2 dg paisantas wayer jpn 499yf0 aarjod FF
Viva IYNOILIGIV
4. ABOYIO HOUUAAaL ADUIIOLA JUSAUOLT,,
62-202’ Did wed se spoday Juoprouy ousouroc] Te ssacoid pue saynp ulopied “$7
H301440 NOLLNAAZUd SONTTIOIA DILSAWOO
‘ssaooid
qsoue J29]dur09 67 Aqitlory Wonaeg IMD ySnaiog 0} poAvitionsotiostid 2AeH “Ye
‘suLO} parnbas [le Jo ssousya}duros pue Anemaoe AUAA “CZ
‘nonTuyeg papundxg-ppoqesnopyA[ruey sues ayy jo Sisquiou) dMATOAut
peloayye st sane Ue pue payramMlos st asuaya Aue vaya [eq esnoqoneys
30 (1Z1-0970d) LEMOLL AONVAV Add NSA ® onss] LON Od ‘tz
yaotssoO 4S3d0

‘Tog m poasord Jo “1a1ypo ayy O} pMOS aio Woy, adueq2 of uouda
pur (sje8reqo ssaaoid 0} 02 ajeudosdde ayy Jo TONDaaS UT sourpodmy *q
yMoo ToRe UI sBurpeasoid TIemjeq VOUsLaLIC “F
Jo pastape sem MIRA pTeTTe|duz09 qT SUNLOTPU
DOT ALIALLDV & Agus oxeur ‘saydde coyorpsum! yuarmogo wag “1?
“S|UTETEMICD PISO} OI 0} Paliazal sem WNOTA (syuno5 “q

 

| ‘SAOQE Playa SuapISUGD JAYe PSJUBLEM S/ }SB.Ue UE BAB!/Aq JOU
S80P J80LYO PUB Pa}selie JopUuayo JUBM JOU SE0P LUnDIALIEUIe;dWOo
| 4 AJUO LYOdFe LNIVIdNOD esojo ‘sase@d JOURBUEPSIU Uy “U@AOMOH

QOROT iON} aMpaDo4g

 

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 50 of 61

 

20 Ul Or

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 55 of 81

at a SE

 

 

sysasiy —-:101)93S

(22 S(ID proday yuapjouy aysauiog parpsopunzs’ 2101S x04 Haat
(281-0924) ADIANRS TVNOSYAd AO INDNALVIS
(71-0970) LANDIL AIDNVHF Add v XSAA

(ZSI-LTEAA) LNOdIDN LNIVIAHOD

(SpI-ZI1Ad) DOT ALIAILOV

SLYOday ANY SWHOs

 

(0

say) smucing asucany’] woydiuearxy af 4) SPUINT JOHN LO SeoROH Buysyonuy SMAPAA
(£0-S1Z ‘D'd) MedppYD paibadijoW

1 paesBay ‘pesngy fO Suusoday puy vonDSysaauy 4: spoaoway douad. satu
(L£-802 ‘9'd) 2aasag ay. JO

SQUAW UDIJIALD Jo paulsofusy SupApoauy 22Ua]0]4 aysamog pup sasuafiey Ajiuay
(21-412 ‘D'd) Seong primnjuy

(10-81% ‘D'd) aunpavosg pormuay Attadoag suraoauy

(£C-80C ‘D'd) Bamparosg [ouoUad - 1ayoLp sounavaddy ¥SeC]

 

Saunds00Nd GaLv Ise

paajoaut an day) ysiyA u] uaprouy asjjod Mun fo ‘uoyjoag

Juapiouy ‘woxstarg esuBory ayl Kno Ajawoipaunul isn s4apjoy jnusadyasua3y]
_ Suda BUIN'T UONULAXT]-Add £0 SASUBNT [OST JO Stap}OH Suiajoauy
ssuapimuy,, “LO-1Z£ “O'¥ wim Mdwoa pup ‘grse-pLe (CZ) 10 woHoeg Meplauy
uorstag aswoor'y ayy Mfijor ‘stappoy plused 40 poastd Bupapoaue spuapjaut pjo uy

‘suapious oNsawmop ut syundton4od &q
POLSPUBLULS MYL AJUMYJOA J4D YOIYA SULA LL passassod Ajp8e sayano, ({)
Canfur poasdyd snotsas a Canta poorsdyd fo yst4
juauiuud ajoasa Hoda yans way (S)uLtDads, passassod Ayo3az aziag (Z)
ysouiy up ayout pup (s)usnasif passassod Aypodeqt aztag ([)
:uoy020} ay} moss uodnam ay] adOWtad Of UayDI ag PyneYs SuUOI}OU
Surmopjof ay; ‘Conf pooisdyd snoisas 40 dentin poosdyd fo ysis jeoujwmun 5ojpa49
7090] D 1p sume fo aouasaid ays 10y) sedate K}qouosve.s saoyfo aojjod D ua

so40f joosdyd fo joady} ay1 40 240f joasdyd saajoaus juaptout ay) uays (¢)
40 ‘aasuactt ayy jsuipSo systxa uopoaj04g fo 4ap4Q UY {)
40 fa8.0y2 ayy fo ssajpan8as ‘pajsadie St fapjoy asueorT (p
if ‘siuisadpsasuaoy pun ‘(sundzoys puo sopfla Buipnjout) surveil INV
antag “ployasnoy ay) uy susmasdf fo aouasstza 24} Mago juasaud suossed uonsanb
\auapiout opsauop 0 fo odad v 02 Surpuodso.s aajasas ayi fo stequeu pauuofius)

 

9¢-807 :ON 22npav0id
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 51 of 61

(sa —— 1 15 oy Db o41 le loltee ry

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 56 of 81

 

euet Air Vad @ 00s

“MINOLAAUEUTE\UOd a4} 01 (P[OS) IS9YS ,,2O09]01 A
OYSSUIOT JO SUI A O} UONETUOFU],, a) PUe (urd) Adoo isej ay aatn (1)
‘sasea ye Ul (Zee
SfOd) Hadey yuspisuy INSoUIOG OFS 410A AON B FO uoyesedard api por *e
. << BOUB[OLA
qusamoqysasuayo A[lured,, “9¢-807 ‘D'd JO Suoistaasd om Ui ApdisoD “>
HOSIAMAdNS TOULVd

‘POMOIJO) GUB 4BPIO SI4T U} PALI/INO

Sainparoid ayy {BY} BSA |[IM JEDIYO YSEP BY! JAILYO ¥SEP ey) Aygou
[WM @dJAlaS ay] JO JAaqWaW Pe BULAJOAU! JUBPIIU} 3JSAWOP & JO pasudde
SI OYM Saynp asnoyuae)s Bujuvopied aojvlaes oj jO JOqUEU

 

‘aguas ay) jo sraquau BusAjoAu}
SJUaPIOU! PaJBjas-AyLUBY [Je JO BUGIS BY} Qj puodse: 0] sosimisdns
joyed ayj josuip AyeonewOjNe iM UORISS SUOABUTWWOD SLON
“Zuipuadsal st 10siAsodns joned sy yelp omsug °f
"SyORI OU) ULELSISY °7
~yuoredde. st peat ou) 10 peysenbai J! souE|sisse [RArpoul ULE}QQO *|
FDIAUSS SHL 40 YAGWAW ONIGNOdSaY

‘PazBjolA UBAG Sey

uojjaajaid JO sapso We JO payuwod Used SEY Auojaj Aue peyy asneo
aiGegald SAYsQe|Se GAAS al) 10 JOGUIGW PaLLUOYUN e yt Aotjad jsaue
AlOPEPUeW & 1NO 3}8S , ‘BIUSfO/A IASewOC/sesuayO AyWe4, '9E-B0C
‘Od JY) PEpulwe dJe GoJAUES Ol} JO SIaqueW PeULOsUN ‘uolppe

uj ‘uossed YONs JO JSAP UB SYAeS WYOIA Sy) JA4JE4YM Buutnbu!

WOY BAAS ay] JO seqWatW PaULOyuN eB suqiyasd mej Bays “EPeUs

eg jou jsaue ue Jey; sisanbes ‘UOjNjOA UMO JAU/SIY UO “LUNDA ali} Ss@jUN
‘payyUOO Ueeg Sey JOURAaILEpSY asuAayo AyUsey Aue jeuy esned
aiqegqad seysiqejse Je04jo UB UeYM apeW ag JSAUE Ve Jey} Se}ePUeU!
ME) GINPSdOld FOUIWUD ay ‘966) 't enuer anjoauy FLON

T2OtAJES 9G} JO SIOQUIAU URL]LAIS JO pouLLOSTUM SuLAJOAU (ployssnopH/Ayime y

Jo uopjuyep papardxe sjwounredeg sup sed se) JUEpISUy SSAUOp 10 astIay}o AyRurey
2 9q 0} Poulsep Jaye] SI TI} JGATIWAISse 10 UNJ OTPel e UO puodsaz 07 pajsomp Usy AA

sYuNaAIONd

“QOTAIOS

au) JO sIaqWIaW TeL]LAID Jo pauiosrun Suprjoaus suapou} aysoulop ssa00id OL
asodund
SSS SSS SEES

GOLAMGS FHL AO
SUASWAAM NVITIAID YO CAWNNOAINN ONIATOANI
AONDTIOIA OLLSAWOC ONY SASNAMAO ATA VA
QO-TO-T0 PANIONIT Eq LE-80Z TON 24Np22014

 

 

 

 

 

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 52 of 61

420 Ul O44

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 57 of 81

 

 

sysaisy 3001993
cP, WON Weaylp Jf “puewTM0s
§ Joquiaus ZujaAOI UN SUOneSTSIAUI Ysno1og “aso Purpuemmo ‘2
" spotiaouos yun suoneSNseAUy Ynosog “sOOLN}O Suipueanusoy “p
‘ayy yenuapyuos uy upeUTEYy (1)
‘aouanmaao jo jouloaid “19910 AUjpueLULUOD “9
on meg JO ISTO
ZurpuBarm0s 0} pode yo Adoo & puas ‘peaOauy S| Sd1AJ9s 347 JO JOQuiow
]) 9uo Ue] a10t Jy) “paAyToaly SOlAKS 3Ip JO Jequiaw ‘rasuyo AuTpueann9} “4

  
   

Sina aq FOdaY Tap] ISHAUOT SAN PH HT Bond Pleo § Lz ‘O'll
(uote STUNTS Neamg tsues] YInoNp seudi0
jetp sjustmusisse 103 ,"ON LNDAAS,, 24440 22814 WON “TVOn aH
sn ]jim Jauuosiad neaing pst] ‘ainpaooad siyy jo sasodind ayt tot) .ON
NTHdS,, wondes ety ut weqwnu LNs Surpuodsaiioa sty pazaque aAey
‘ost ..'# [elag routeal1g woNdes og sapun doy podoy iueprouy Spsowoc]
jourserd aq wt 4 307] Surpuodso.suod oi pue yy Zo] EWI, SPION ay} saqug “9
(‘pueurmos duedysaaut oyeLidosdde ayy ouraLAap ||} ay¥1
LYOdAN LNIVTAWOD AF JO UoNDAS , §]180C» OH) Ul #807 GV1 wd 4
Toley jMaphuy TUSAMO
BAN 247 Jo MonIAS ,, SPOT, OY WF f BOT F VI AH) seu V feos 2z"0'll
“sAQUINN Bo] wleIQO puE seqHAD PuBUTUDD Neame SIBPY [RAY] AJNON “1d
‘uieides Ainpjwapueurmos youlserd YM Jayuo> pue ANON “OL
waoldsO HSAO
“goua1mooe Jo joutoeld ‘sooo ysep AJUON 6

902 “D'd YUM Ajduloo ‘popsaue S} EDIAJOS Ol] JO OGWOUW B ff
‘paredaid
29 (¥ZST-E€1€dd) LHNHSMUOM LYOdaTY LNIVTdIAO) 8 eth Panic '8
“SdH. TS DNIMOTION
AHLITIM AId NOD 9 UNV $ SdLS OL NOLIICCY NI “ASNAAIO NV
GaLLANOD AAVH OL GaDaTTV SI SOIAUSS dO Ud AN aH
Sutposumos Jo Aryiqeyear amp jo soured asudde pue vayey st uonae syuidoidde
qeIp sMsud JPA Oy ureides Ainpaayyo dupuewns6a youtsaid Apo *L
TALLOIA ¥ Sl SOIAWHS SELL JO WHA GH NAH AL
“UORSE
{0 SSUNOO EY} SUIUE}EP IM NUE paysou q {iM ulejdeo AINpeEsyO
BulpueWwUto? 94} ‘UONENYS JUIe;PUIOI-SSOIO & S} JOY} ff 40 “WYOIA
at} S] OYM pue JapUayo ay) S} OYM O} Se }QNOP S! alely UGUM BLON
“Quamlayws
DNC JOUOHNIPPY 288) Suposunos jo ATPAeTTeAR ot JO sared sty asuddy ‘9
CBIN3fO1A, WyseuUiog] /sosvayo Aiumey.,, “9E-BO% “Od WIM AjdusoD *s
YOSIANSdNS 10uNLVd

TaDaTIV Nadd SVA ASNaadO ON NAHM ONICNIONI SESVO TTY NI
LO-ROZ [ON 24npeseig

 

 

  

 

 

 

 

 

 

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 53 of 61

 

O2ITO rage co Ol oF

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 58 of 81

rte

eee
a

 

vuuy omves yan & Wy

“90U8.LINS90 JO FINOIOG 21
ZULI9A09 TIN SUONSSSAU] ITA O1 UOBRSNSAAU! Sty) Jafes ‘Sosed Joyo [Te UT z
“nealing siTEyyy Jeaayu] Ag pepnpuos
aq woNed ySoAU! Ue ayepIssaoau SoouBysTUMOND 3 “A[eyeEPaTULy BULA SI.
GANYSONOS MASA ‘a'V')
“MONRSNSSAU ZuLOFuo Jo sngers SuLpueBa.
‘PpauAZOUGO UN SUONRSISSAU JO NeAING SIBITY TELUS] WM Layuod “e
“S]UAPIIUT OYSSWOP Ul PAA[OAUL aTAJaS
ay jo susquisu Sutpsede. suodes [je Jo afty ERUEpYLCS v UIeyUyeK Pe MSIATY “PL
GAA TOANI *S’O'WSOIdAO ONIGNVININOD

‘f9]USD PURWWOD

neaung sueyy jewesju ey) ajepdn oj apes aq jm payediague

JO uaye) suonoe Bujuseauoo suojeoygoU dr-Mojjo4 ‘uje}deo

Aynp ay) jo Ayqisuodsad ay) ujeulas uoyebaye ay) so woyeBysadul
jentu) 64) Busse9UOD SUOISIOSD jy ‘uoneByseaAul Ue Buyompuoo

Joy aqisuodsel aq jim ule}des Ajnp ajeudosdde ay} ‘paajeoa!

sf od MAN Jo AyD ay) eprsyno Bujpisas (uenAto so patuoyun) aojvras
ay) Jo JegWew B BUlA/GAU! JUePPOU UB Jo YONBSYNOU JaABUaYM, ALON

‘papsou J] 2ourjsisse jsanbos pus neaing sireyry Peuwsajuy 9t) WAM
Jgjuod ‘pamnbal st uoQRAYssAM JoyyiNy pue quesaid OU St JapUsyZO U4 J] “4
“pauosuod ureydes Aanp/las yo durpuewulos ayy Jo Ayjiqisuodsas
ay) urewiar ‘smeys Ainp $s Joquiowl at} Suipresal woneurunsyap Iurjnsel
Ave sv ][oM Se ‘UOTRSHSSAT oy} SiNpresal SuOISIOAp TTY “DORE ISAAUT
aly UL ysisse ABU UI UOHEWIOU! punossyoeg WieIqG0 0} si [BLIEFUOD
STU “smueys Aynp Jo uoiszenteas Sorpued Aynp payatysas uo powiaouos s9quIsU
ayy Suse 10 SuAy pour “Burpuadsns 0} YOTYd PUP 99} A748 94) JO Joqtuau
2 JUIAJOAUL UOHVTTISeAT! FPIOYJO Ue JO Sageys [ENIU! ap ZuLINp 19}U39
pueUloD neaIng sIrETY PRUAOY ap YsnoNy Annbur panoswsyorg & SxBA ‘e
|, BouUaIOLA mWsaMog/sesuaGO Apo, ‘9£-B07 ‘Dd Ad
poyectpu se vonoe ayenidoidde 9424 pue WONLENSOA! SJBIPIUWT UE SSUDWIUOD *€]
NIVId¥2-ALNGS9I44O ONIGNVANOD

9069-246 (008) BoussOlA Dsawog isuleby Uoseod SAN
(E99) SAOH-129 (008) Sea;Ales SUNIIIA DAN

 

 

 

 

 

 

 

iSeo/ATOS WNSIA ALeL B SplAGI Oj
ole Ue U] DUIMO][Os Si} O} PaLrapal oq ABU GSUBJOIA JRSAUIOP JO SUNDA

Oy [ERUSPyUOO SJeJIO DUIPUBUWOS oY) Ul UPY} 43410
SaUGLINIDO Jo JOUloesd OL) Uf PSUIZIUJEW Og fim UORRDGSAL!
du} OF Buljejal S8]y Jo Sejdoo 10qj0 ON Who UBUTE;AWOS
Buy Of SSda08 BAbY JUSPlOU] ey) DUPED SAU ole OM SUOSIS
]UO J£4} GuNSUs [iM JOoIO YSdp Shy BSNOYUOREIS oy) Je juaseIa
ST UMDIAAUCUTE|AUOS dy alaym SUOREMIS Uf SION (eos zz ‘od
"podoulad a7@ SULIBSIY }I “UOKIAg SIAPIC |PUTOSIOT ce)
(8927
“pLe (Z1Z) 3e xe Aq ‘ASRPSUIUM) uorstAlC usuraseeyy sodojdurg (7)
HOISIAI JeOIP9] (1)
JO s1ddqo Fupuewwoy ‘}

LEQOT iON WNpso04g

 

 

 

 

 

 

 

  

 

 

 

 

 

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 54 of 61

Page 27 of 04

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 59 of 81

 

 

Qsalry Woy 0g

wioftun p Buipaosas ugisep (up “paussouod IHy] MOYDBUSAANT IY) PUD UOLTAICT
juouraSounpy aadojdiag ays fo cowancg ey) ‘iouisaid juapisad S, aaquiaus ay! fe
ryffo Sujpunuauo sy 0) pepapsuof ag jpIM wodas ayy fo saidoo pouowippy ‘syns
inp oy sp woisjaap Dp Suuuos ‘sunpiy powsauy fo Pro ai 0) uodes p endead
yun poay Cuosvuadnsjeoufo Suipimuuas ai} dequana Soy ay? Sujunnqo wayyy
Anunuoddo ejqupian is.nf ay) 10 (paumiqo toquinu do] noasng suiogiy pousaiuy
ay Suipiaosd) poay Cosiasadnsy.a2ifJo Aujpuounugs 434/S1y dijou Ajuanhasqns
[ped sequiaw ayf saquinit Soy nbaing sainifp pousayuy up wipjqo pup Tory

‘pe (Z[ gz) Ie dauag pupuiuod npaimag suoffp jousajuy ay Saou dpeiaipaual 7K
twisouog taquiaty ay) ‘sunao0 uOYDNAS yons way uedo JOU St puto? 8, daquiow
147 -4equinu Jo} nosang saiolfy jouseluy up uyoiqo puo 10bS- Ted (212) 18 22s
pupunuoy noaing suinffy yousauy ayy) Afnou way) jini poay Ciosmuadnsyaoyyo
Suipuvuauos ayy ‘Amp 4of if 8) aauuas ayy fo 4aquiaw ay) 4ayraym

atutuuayap 0) MoD YSeAM Lp JONPUOD PUD palLieqUaD daqiuaue ay] Ma ysequy ]]IA
way Cosmuadnsjwsoyfo dunpupunuon ay, Poy uosauadnsyaaifo Buipupunuor
iy dfu0u I TALVICAWAL LSA prtaouos daguaur ay) ‘uoyoajorg fO 4ap4g Mn
‘uppuafapjuapwodsad ays 5} ays 40 ay J2Y) a4DMD SeLiodaq (uprpiato Jo pousofiua)
aomuas ayy [0 zaqQUal D LAY ‘PaNSs] acayM AelDU OU ‘SAOUDISUIMDAD J)D Uy

up suoyosedg ays Mfizou 0}
auLees ayy fo saquiau paurofiun ayi Yeox Mayy, fo dig ay) apisinio sano30 JuSpIoU)
ruaygy ‘aoussunoso fo joursasd ‘uvayffo ysap ay Kfirou of 2m seaqiuaut pauuofiun

‘aiqispaf JOU S} auaDS BY} 1D BungoUs4 B49YM SUOLONYS UT aostuadns jo.god ay]
asuodsas ays jsanbot puo Gafos jruosiad yaid juaIs|suoo pun apqispaf way ausIS
ays ip wowas 0) pa.nbes $1 Sera D 40 jupdionund p sayria 91 aaouffo ayy Yoryer
1 (2ouajom aysauop fo sjudprous 4ayi0 pun saindsip (ptunf Suypnysul) gouasin390
anyod ponsnun uo jv Juasaad annsas ay? {0 doquiaut pauuofiun Gnp-ffo uy
vivd TYNOILIGdY
“JapTO] sseo
TO s]eitopat JASIMDOC] “OMSL SEQ O] Syetrayot ayeudoidde SAEU! PUB DQeyIBAR
IOTAIOS QUUSJOLA DSAaMLOp ow |J9q] FI OTELs0se 0} Aowade sayod praojpoursaid
DISA SUINIOIA OU JO ITI VOUITOLA SNSATOC] OP TLar JOFUOL) "17 [eos 2z'0'
Alas sq). Jo 1aqurem joalqns omy HALATOAUT SyOptow aotAyOIA ONSoMIOP soud fo
yoal Ame sistxa auaty JoqnegM BTELe0se 0} Neo SMETPY [EAL] YI IBFUOD “OC

“BOIAJOS OY] JO soqiuauy JOA/Gns Sy} Jo PurBLyUOd
jp Buaros yun suojeBysaauy ey? YYM YO9YO ‘OSpy “(ope ‘paBbajre sem
uogebaye cu “6'5) ‘paiedaid uaaq osey sunday juspjouy Ipsewog

SAN Jajo jf UlELIGOSE 0) SJOUJIAIT JUSPISGI S,WHOIA PUe 8 j0efQns
84; Jo se01yO jo.QUOS AwiBajuy ey] YM J8ju09 ‘UO}ppe U] FLON

"gnepiom ONSoMLop JoLd Jo procal B JOF osUquIEp aly Y29q “61
‘aSBqEIEP BT) MAIC 8g) azteuy paw ssqo0id MALAD} ta}shg osequed
wrapOLA, osearod aq upus} “HSISAS aSEquIEC] CAUayO! A, OISsaLOcy St} OTT

yaxayue uaoq sey poday yuoprouy ONsemMOd SAN 2H ep ainsuy “gt [0S 22°O'
‘osuqejap

Way JUsplaqy Sysemog & LA peddinbs st yun BuanesysSeAM aq} ey amsuy “41
: Coes OSeALL

SOWS[OLA WYSSTOY,, @ 9q 0} TUM qj Jo soquiour Asostatadns e syeusiseq “91

YI9I44d0 ONIGNVINNOD “LINN SNOILYOILSSANI

/e-2N7 (OM 91NDI0LT

 

 

 

 

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 55 of 61

iS

aoc 1 too

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 60 of 81

 

 

Loot ‘Atte vd @ POs

(@7E SLIG woday woprouy msawog HAMS 440X HIN
(WEST-E1SCd) LTARSIAOM LYOdTa INIVIGHKOD

SidOddu ONY SWYOF

 

 

Wit0t Dd wong pomdopmmy {[e0-90 ATH]

(11-907 ‘D'd) uDYpAID 4D pavulofiufy- paisacey amasag if JO 49qUa WV
(TE-Z1Z ‘D'Aa) emazag ayy fO staquayy of sypesyy

(9£-307 ‘D'd) aoustor4 JusaMOc/sasual[y KjminT

 

SayundsI0ONd GalV isa
SPEE-SEL (912) dnosp jzoddng ftag a21jog
L9TL~L9Z-B8E wnsIZOLG sUDISISSY Ayssaquayy VAI
RBED-BED-TOZ aUuajOrA DySaUulog] INGNSY UOWTVOD JPUCLON,
9069-Th6-008 aoua{oL4 DsSaWocy IsuIvSY UOIjDOD SAN
AdOH- [29-008 (santasag rusno14) GID y40x man

ispp.tiafad apiAadd UD SAUIIO}] UOTMIAD Af
aruapol4s ausamMog puD sumD1sodd joquaugundaq-uou Siamoyjof ays ‘uonippo uy

up)
suoipiadg) 40 ¥Sa] ANS ‘NTITTAH 24) vjWoo ‘(auaSuawua up ut 40 ‘Sanoy ayy
ORSS-PLE (LIZ) nu suawsedQ

LLLL-TLE BID) ANITA TIH IddN

9092-092 (BID sostauadng ¥6aCf 416

O09L-O92 (812) ¥SICT HIS

$99L-092 (872) UOIIIEG samAsLaY [DIBOLOYIAST

ZLPOKLE (71D) qupy , surojdoyp

9950-626 (212) Huy ariasasy) Aurjasunon

0€L9-b28 (712) qiupy uoyuadiazuy dung

PERs-pee (1D) uoures suoynjay aedodug

$99£-094 BIL) nu Bujjasunog Apuuny

S2OUDISISSD 42YJO puD 4a 3YS

‘Suyjasunog dof spo.Liafe. pun saoidias Lipssaoou “Inigo ot Mojaq palsy Siiun ay)
fo dup jonjuos Cow sainunf say) 40 Sdaqua upy12 puo pauiofiuy ‘sayrutf aay)
pun aaasas ey) fo Suaquuai yjog 4of ajqo]iway aip saopasas sayio pun Sujpasuno>

4 Batduag ays fO staqueayy OL SEIT, ‘TE

“ZIZ ‘Dg fo suaisiaoad ayy yun &pduioo pnoys paraffo asoys ‘ipssaoeu fy “suOs@as
Gafos of aanffo Surpununnor say ffirou 9) esooy Kot caquiaut ayy ‘UONIO4L fo
4apag uD vo juOUID{ duos 40 BUOITTAd D SI FIIs ay} {0 daquiaia BY) B4BYeA SASDO UT
‘YOLDMIULIaap Sty) ttt pesapisued Joyonf auo aq dquo pynoys uouoe}047 fo tap10

ayy ‘siseq asna Ag aspo p uo apmut aq pinoys smipis np s, FoIAaas IYT (fo eager

 

1C-ONF fat AMNAANIT

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 56 of 61

TREE Ducumen 21-2 Fil

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 61 of 81

 

sysatiy +8017

 

  

Pué paAjoau) sonied oy} DujpIebar sjueWwOs jEUOH/PPY ‘4
—_— : Jepio

Byf yo Ados © IM PaAlos Usog sey jUepPUCUSEI Sl JOLIEYM ‘2

TOReHUXS JO SjEp pue “BIUENSS} JO LAGI Pue ojeq ‘Pp

ES

Tapio oy) JO SUOHIPUOD PUL Sia} SY] *S

 

 

 

   

 

 

Donseiold jo Japio sy; bUASanbel UOSIed ay} 02 Dupejas e}eq

Taseqejep ol? YBNOIG)
Bqgeujeyqo s) Uonewrojus BumMeyjoj ey ALON {eo s se O71)

-Aarmbut sip yonpuos o} sayoyedsip woystaic] SUOHPOLUNUOD otp qysanbos

*Cambut 9q} onpuos o} ayqeuin S| soueLT|30 Jo youtoaid oy jUaAe dtp Uy “e

-Aanbut aseqeyep vongajorg JO Japs ue yonpuos

oy] w93skS TSANTA on s1esodo 0} pozome so1Aas olf Jo Joquisw P ysenbal

pue s2tia1mao0 Jo yournerd ayy auoydoyss SunoraquBuTE]duros oy o} Surutwpiad
fy Ud HONSsOI_ JO s19pIQ Ou aye Ady) WY suodas Honsasg UonsoTtap] aq) J] “¢

inp uojoIpdxe ay) PUD poypqiyord JAPUO) JfIeds “eIUDAS:
T PMOD PeTiss SOM UONoe0dg Jo 13pLO) Ub FY) Asiaed OF S6ISDID (9F9.

D ejfoay HONDO Buep] ‘MOISIAT Splooey jose) auayasjal C (eo s e¢ “O'll
“SUIBUAd I WOYM 0} SAED oi) PUe JBPJO ali Bunuacuea
afgissod Se UONBUUOJU! YON SB UIEYE@OSe 0} BPeW aq Pinoys jdwiay)e
(lane eAeMOH “YL so ayep pue auseu (SjUueLIE/duIOd) suavonnad
ay} Guuejtie Aq Afajaus pepedo] aq UBD Jepuo Ue ‘ayy asegeyep
@ JO Buyeso) ay} }USAAI JOU JIM jST] SY} WON UO/JEULLOJU) UTE}1e9
LIBIGO 0} AINFEJ ‘PEeoo] UEA SEY JOJO JOALIOO oy} Jey; Surxquen
ul wajsds ay] Bulssa9on Jagwaw ay] PIE 0} SaAses JUBUIB]GWOO ay]
way ‘afqssod p ‘pauleyqo aq O} UOeULOYUT JO JS] BAOGE BYUL FLON
"Coqa ‘pawisauod sored [fe JO
3q JO soyep pue sassouppe ‘sowled at} ‘gqUeNSSI JO ajep ‘oouRNss! JO NOD *3'9)
JsPIO OY] BUMUIGOUGS VOTPLIIOFM s[Qelleak Tjek yuRuteldinos oy} Woy uTELSIsy *[
4OIANSS JHL 40 HASWAW AOANdOAINN
‘J9PIO TEIN JO
loo e aonpoid 0} sjqeum si ing ‘parye[Ola Uesq Sey Gon ‘uoyogjoid Jo nplo eayoe
lassassod oys/oy yetp yueurEjdulos & AQ pauLiojul S1 Ad1Ajas Sip] Jo Jaquiat & Wal AA
synda908d
‘MOTASI
g Jato Surpuodsar aypj soy ‘apqudayy! st wee. auo saonpoid Jo sapio ot) Jo Ados &
{posd oj o[qpun Joipte st mq woR.a}01d Jo Japso aAtoT UF jo (zossassed) sana ed
au} oq 0} SuarEo JUBUTE]duI0S B IBASUSY An Perop] Os 34 0} sauyapind ysijquise Of
_aSOdund
eee

AULSIOTA
NOLLOZLOUd AO AAGCUO ALV.LS WHOA MAN
TOTO *eAnANY 28 SE-R07 ON asnpadoid

 

 

 

 
 

 

 

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 57 of 61

 

tf
p
=)
>
A
D
=
c

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 62 of 81

 

 

poaz ‘Asner ydd O 905

Leen See

ie es —.—- -FUNGsIOud daLVIsy¥
‘aLULdD D SAINsIISUOI JNPUOd Buidpcapun ay.
fi iain ue Buyraffa woul caquia ay! juadaad JOU [fm PalOjOlA aad JOU BAY 4ap40
ays fo sins] aufizads ay) wy? 40 peasos Gaedoid uaag jou Spl daps0 BY) IDY) poof ey]
Viva I¥NOILIOCY

 

1 Bau3IO1A

ousomocqyrasuage dpmog,, ‘9€-80Z ‘D'd Jo Sucisiaosd ajqearidde arp WL

Ajduios “stxe saop asneo aiqeqoid J] uapaodsai sip Aq pare|olA useq aAky Japso
oly Jo Siai9} VT yeu} SASTIAq 0} SSTIED alqeqoid sjstxa asaYj Jayyoyamn SUNULa}9q °L

 

‘payjaya aq ues jsaue ayy Uayp (938 ‘paras Auadoid
sem ays/ay jeyq juepuodsar ety Ag VO/SSIUIPe UP ‘20)sas 40 IA epyie ue
“6-a) paruas Avedosd sem Jepso ayy Jey) AJUOA UBS ‘SUBSLU BANELIAYe
yBnosy) veguieus ay) yy Jsave ayy Buyyeut wos saqurew 3yj juaaaid
AJPEONEUWOING JOU jIM OJ eSEGE}eP 8) Uy) VONeUUOIU) YOns Jo eouesSge
oy] perres Ajaaljooye Sem Japso aly} BABTEq 0} BSNeS aqeqoid
JUSIOWINS YpAA JAQUIaU if} QPlAQsd IIM Of ASEQEJEP tj] UI UONEJOU
2 Siti ‘UONRIOIA S$}! 0} YORYe juapuadsas ey) Uodn passes Ajeajoaye
SEM JEplo all] GAGIaq O} BSNED ajgegaid aaPy jsniw sequal! ey)
‘uonoejosd JO eps0 UG JO VONEIOIA 404 JSeLe UE Joaye O} 4epso LU] FLON
uapio oy o Adoo ¥ WLS poAlas Ajsnoraaid useq sey juopuodsas oy seu} Aj139A “9
"quopuodses aig se Jopuasjo acy pie ssugliad
se quRuTeyduros og] durumeu “paA[Caut eared ati 0} Sarejas Jopso op yet Apa, *¢
dda NI NOLLOALOwd dO WAGUO AALIOV
Nv S1 duahl TVA STVAATA AMINONI asvVavivd ALV.Ls V NAHM

 

 

 

 

  
  

“Japlo 9YZ JO DaUAIsXe ap APWOA
0} S6IS-PLE (ZZ) 32 ‘WOKMDeg UOnVOyTUSp] “UOIsLAI(y spr099y [E.Ou35 auoydalay,*p
FOIANES SHI JO YASWAW GSWHOSINN

CENYIGNOO
SULUVd AL OL ONILV Tae FI NO WACUO ON ST SUAHL LBL
FiVAAT AMINONI ASVAVLIV ALVIS V WO “S66T “T WAAOLO0 OL YOrd

Cansei SVM WACUO AML LVHL SALVSIGNI INVNIVTAWOS SELL NAHM

 

 

 

 

 

GEE 1 JSGOIDO Of JOG ponss] USeq SAey JEG} UOHIsIOIG Jo
SJapso Ulejuos JOU [JIM BSEGejEp 07635 OY} JEYT PayOU Og PjNoys })

RE-ROZ :ON 91npaz0ig

 

 

 

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 58 of 61

oi

wooo tet Ly

 

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 63 of 81

 

iS sjs01ry 10K}225

~ayeLidoidds
pi ‘ousos poe (Sungs 31) wyorapmeurerduos jo wae) oq syderBoxoyd yooNp

5 (pre era (ENS SoT3] OLA ORSOMIOp TILA uognoo] “paysonber oy pucdsay coro

yoOsiAMadNS TOULVd

 

"POUSPIAS BQUBIOIA DNSawop fe jo Sydes5oj}oud JO} Aloysodas ejos
faq IM esegeeg ojoyd jey5ig BUa/OIA WSeUIOG O41 AINAGIAT
FONTION DULSAWOA JUNLdVD OL GASN 38 YZAIN TINOHS

(O13 ‘SYALNdNOD ATSHANVH ‘SANOHd TI3D ‘SvuaWyo)

LNFINdINOA DIHdVUDOLOHd TWNOSUAd ASSP jouroasd

ey} JO RAJE OY? U} Payed0) UOIJEIS GsNJdeD AIUE/OIA IYSOWOP BY) UM
TNPAWOD ae SEJOWESD JOYJO ON “OLEpP|AG BOUS/OIA SfSEUWOP aunjdeo
0] pasn aq pynoys esauseo jeybip eque/oiA aySawop ayt UO LON

“WONBIO] 0} ]YFno2g oq LISTS
Jeiatp sausyoLa NgssmLOp Om] tT isonbo. poe iostatiodns joned ap AMON “p

 

 

-Ayua uss mIpOIA savy ‘apqrssod Jt pur “(SpT-Z11dd) DOT
ALIALLOV Bt yesnges 2100 ‘pagdewZoyogd 2q 03 SeyTIm Jou St MAHITA IT"4
“sdurpazaoid Apoisns

PIEye pur sos0aTp se qons ssesoad y2Ato Jo/pue suojy9 jeLomoasosd

QITYNY OF [EIITUIS st ROUaPTAS ayqeydesoioyd yey) Wyola am astApy F
| ‘paydestozoyd 9q a1 Bayt Si USA oN FL UTROS YE

“unyel aq isnus sydeaBojoyd fr ourmayaq] “7
 SOUIJOIA MNseMMIogsasuagO AInneY,, “O¢-807 “‘O'd MM AlwoD “1
AOIANSS AHL JO YASS GaWHOSINN
“WWOPTIOUT 2OT9]01A OLsacs0p pauodas 8 Jo ouaas om 0) Surpuodsas uody,
FUNGsIOUd
“epoayoO JO/Pe UOSIA ayy] TULA JETS Jerry Supyeur oj oud sooyd
SSSIp ATLA OF BIQe oq [Ta (oye “SIHOyO wonuaagid souajor otjsowop ‘|aumosiod
neamg 9anss}eq) seos woddns puw AlojedyseAuy Ut Sunse sinquai psuuoslun
‘ronIppe uy “aseo 8, AnuO}Yy 1UISIC St) Suuspauans Aqoistp ‘wound re ue
JO amin ag 12 sadpnl or aouayo1A Sgsawop Jo sadvun pewatp yaassid wom
Kem sronoasorg ‘aseqeiec] O10 g ENSICy couaTOI A ONSeTIOC] afi 0} S9908 OAEN
{LM o7a (fesumoD uonesodi0>) juaanredag MET 340K avon Ot pure soYIO
s AMAOWY MSI §,FSno10g Yors ie siojnoesord Aq paarors Apueysur oq way
Avr podwunt asset], ‘osequyeq Cyd [FusICG: WuHs]OrA, YAsSOUTOC] AMP OFT prooes
quowenud v se uroy) yUnStEy pue sqoyd eoua]o1A oNsawOp auudes ATpeH ap
0} O[QE MOU Ase ApPlALAjTO SPUEUNNOD Bare aa{Aras aorjod pur yuresad py
3ad09s
‘QOUDTOTA ONISsMTOp JO }psor v su Apiadoid poseurep 1o/pue saumfat
a[qista Jo aouapras oyderscroyd prsip upyuten pure says ‘Bozeres ‘omnjdes 0],
3sOddnd

eee Se oeswwwa@a@a@a=®=@QQOOoeE*“E‘EeeO— See

(ALWAdOUd CHOVAVO/SININLNI
HIAISIA AO AAAVADOLOH TVLIOIM
QOINAIOLA OLLSAWOM/SASNAAAO ATONV A

6EROZ AMIND WANT WA SAW TA AHISIN TASS QFE MAIER ET MATIN TATA ANT

 

 

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 59 of 61

4

aoc 1. to-

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 64 of 81

 

 

go0z ‘AIBr Vii @ R0S

4nourtteue-aid Suunp sajyoud peywrp saoLges
0} 29070 8, AatIONY 1MISIC agp te auMOsisd Aq postr st", # WOPIOT],, SHULL “E”
“uondes
if SNOAT],, UT PATMALANIOD st IsequIEC NOY, [ENGIC] S9Ua|OrA ITISITIOC] OT}
ur woes [wptaT ayy Vo MONdes IY o1p LOY pourgo gf WapIoUy,, mp pre (VZST
-1¢Gd) LATHSMNOM LHOATA LNIV Tad tp Jo wousod 10991109
QoUNpLAg,, OT] UO PaywaUMIop St ,.SO.LOHd TVLIDIG., sem op wm omsuy *L

 

 

‘asegejeg O}0Yg jeyAig BIUe/OlA IBSewWog BY Op] papeojdn aq
jyouues apow /UOWOW /ELLISjUs AY] UO POAES sojoyg ‘pico Arowaw
B wo sojoyd ainjded oj Jas aq ssn ELaWweS St , Afowaeul
jeusajul,, 0} Asoweul esaured jeuBip aig jas Jou Og “Sesed GIUBJOIA
QSEWIOP Ul LAYe? BI Ud JY} SOjOYA JO ,S}AS,, JO sojoyd Jo Jaquinu ely
O} jiu @ J86U0) OU Sf a1IY, “SWOY OY) Uy BDUAjOJA JO/PUB B2uEpIAe Aue
joidap oj pepesu se sojoyd Aueu! se Bye} 0} BOSS Si} JO S4aquiats
seqeua esawes ayy jo Aysedes abesojs ayf Ie ‘sojoyd ZLg punose
pjoy jw sayqeBow zig ym esoyr ‘sojoyd g¢z Ajeyeuyxoxide ploy
0} age eg jy Alousaw jo sayAqebaw 9Gz Buyurejuoo spieo Asouleus
‘ginjolay, “ebesojs ejep jo ayAqeBous avo Ajajeuyxaidde saye}
ojoyd yoey “AazZIS ely jPUNIUNLU YUM C}oYd ayn jo Ayyenb ey) eziuyXeUs O}
Bunias uonnjosas jseyBry oy) 32 JS Og O} S} Bralued jeyBip &Y] ZLON

‘sojoqd
jo sauas ty JO; 3x93T100 Burpicid ‘dn ysreas om Mog WIA aI Jo ojoyg ‘3
(So/9-ITZE SLID
jioday FUSPPUY VPssIO(, aysjgG WAOA Aen pargjdimmons om) Jo (umol
Aq paudis pup nay storesalpy JO TuSUAIEg PUR )eaqg we) soded nog 3
(oye Loyenadzadsunjota arp fo Sumpopo poddis
IO spuEgsaqo[2 ayy uo poorq ‘Zuryywys Lo] Saousiamoy Jo WoMsseIEy
pareawisse 107 KOq pi-saypao Jo sampord “o't) s9uspina jo sodG Jom) “3
SUIOY UI ssaqsip Jo
DoTaflA —-STISOMTOP SuMeIIPUT ‘ABESTP MI StiIay! ABNSALIT OF SUBS [[PIOAG “Pp
suoded AA ‘2
Ayradoid podeureqy-q
‘SOJOYO aye) JOU Op 'salun|uy ajgisjA OU Bie
alain pue '(aaibeg 3 Jinessy) uled jenueysgns jo julesdiuod eB sayeul

LOA B UdYAA ‘eur Ja]B] e je weadde yey) Sesing JOJ sudeiBoloyd dn

-MO}JO} @YE} 0} SJOJCAGYSEAU! PUB SIIIYO UONUAAAIA BIUA/OIA INSBUMP

sO] JEIOTUD SI yf esOJaJEY] ‘jUeUILUCId Aypeniul aq JOU Aew saunfuj LON

soLmnfar o[qist, @

03 pauTany Jou 31g Zurpuyout ‘Aressaosu sa sqdeBojoyd [eusrp aye, “9
JOIANSS SHL 40 YSN GAWNYOSINN
“pajsanbal ueaq sey esowed jenbip eauajois
OASAWOP & B1ayA BUBIS Sy] O} Puodsas PjNoYs S1B9YjO uoyueaasd
goua/oIA DRSBWOP ‘pjey BY) UI BunIOM Ue, ‘esaLsed jej6Ip

B iim peddinbs ose due Sse0UsO UOAUAASIA BIUA/OJA IYSOUIOG ALON

6€-907 ACIND TOMLYd SHOVIATWSANIISNS 80-07-50 CANSSI LT WATUO WINALL

 

 

 

 

 

 

 

 

 

 

 

 

 
 

TOSS Loco es Tied UU lO Page 30 OF 04

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 65 of 81

Set tw

Vea

Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 60 of 61

 

peer ee aN

80s sysairy 200205

 

Soe aces "as 1euenuy
‘guniedaq ey] UO ageeAe ase pue ‘Auesgr] aouasajay PueWIWOD
n Y¥S@P ay} Je PEUlEjELU O18 SSEGBIEG OY SOUA{O/A ISO
| f} OJlY SOJOY BOLIajO/A OSeWOP jo Suysoy pue Buipeojdn ey} pue
BWeD feYBIP BOUajOWA ONSEWOP 84} Jo EsN sy) JO, SucHONASU] SALON

 

‘asequiep aq) 0} paces “ou are sojoyd om] pur ,cABs,, HO AID A

| ‘soyogd aq] meeusg poed0] suondes aq) aojdm05 “f
| “sojoyd Jo razsue] YEG

POY HO, HNO BaMp “apy ou) OF Zope ed sprmaquanm ojoyd TO Hos “t

“sojoqd ppe O} PPR, 99 FOULD'Y

“ysuojse ue Aq payetisisop spray olepiem Te Jamsuy "3
“digsuoneypal onsswop

omloads amy o1etsosse 01 (s)drysuonEyes ajeudoidde at) FO yVYD FJ

‘woot ,eanides,, og) Wo yO1]9 pare y asojo ‘sreodde xoq Burpuad oxp 51>

Woot , S1gUTED sous|OLA OMSITO,, at UO YOI'P

-yoadde 1s) SMOPUUM .preD amTyotd,, pue , ALOMAPY PELADIUT,, O47 960] *>
‘(Jo Jo To 9g treo EFouTHD)

req a0eds aq) ssoid pre TONEIs SUP{IOp ot) Uo EAaUIBS OC sor] d “4
“Aressaoou st plomssed ON “(WIWOAC

SB 10 poSZoy Sl aSequyEC OO], JABIC] SoUs]OlA SNSSUIOC] ot tuTp SIMsu|"e

‘ {SOSRD [TE Wt FAIMOTLO] tN 01 OLoQpy ‘OT

 

“‘saseo Uede UO
jebyseaut eanoajap Aq Pue Sased }JSAUe U/ CIYO S ABUONY 2313SIC
q Aq papesu ase sojoyd jeybiq ‘Ayunuoddo jsejjipe ayy 78 s801Y0
sbsse/buysoue ayy Aq aseqejeg 0}0Ud jeVBig aauajol, sysewog
y oj papeojdn ag ysnu sojoyd seyBip eousjolA osaulog ALON

“maishs oy mo sdimoard
orp Sueaoyjoy pur exaure9 otp Bupjoop Aq asEquieqd oud [ENSiq] 9aUajOrA,
QnSsOC] aq} OVI wraures [EY Tip ay Woy waye} sojoyd penarp ye peojdg, 6
MADIAIO GANSISSV WAd4IO ONUSANNY MASAO ONISSASDONd Lsayvyv
Hodsy JDepHy] apsomM0q
emp Jo (z) om) aided uo payeon] nonoss .wontsodaq Sanroddag/sronedsypy
jo yuamayRig,, orp seyotdaios urnata oy) Joye pajs[daroo st jr0dayy
Map] ABSoUIOG 4387S YIOA MAN OT JO DOSS OJOY,, 943 IBM oMsUy °g
“aouepiag jeaisAyd BUjSIOAU! USYM , BANPEIDIJe /ELBUAH — AuedOse4
YOHOAUI, ‘LO-BLZ APIND [ANC OF aseype WM Siaquiayy “(‘9Je ‘Bujifojo
| iodeem “s‘}) aouepiae jeaisAyd yo Bujojoaul pue vORIa/}OD a)
1 aINYSgns jou seap esuepIAE Jo Burydesbojoyd eyj Jey) papules
| 9 SIEQUIAW ‘PalayONoA JON pue aseqeleg Od fey6Kg aauejolA
SEU/0g BY} O}L) papeojdn aq jm sojoyd jeybip aoue/oja oSeW0G
"YOYd JeY6IP aoUuE/OIA DBSEWOP JBYONOA OJ pasn ag saBUo/ OU IM
PL“LZSO0d) SADIOANI S.AHATO ALUAdONd “B10Je/84, “BOUEPIAE
LI@JOIA 2ASeLLIOP auNjded 0} Pasn aq JEBUOs OU IM LUujyY P{01e}Ocd ALON

 

 

 

 

 

 

 

66-807 FQIID TOULYd SHV 1A MVSANATSS 80-07-S0 TANS] LI AATHO WITALNI

 
Case 1:15-cv-05871-KPF Document 41-1 Filed 01/03/17 Page 61 of 61

 

Preros7ozTo Page oF Ul os

Case 1:15-cv-05871-LAP Document 16-1 Filed 05/09/16 Page 66 of 81

 

TRE. DOCU ent 21-2

Cast t-te

 

 

 

got ‘Arar Yd Oo g-80s

“sypasai jo Aqua do7T pueumiod e syxey"o
‘Teuopwiedo are (svisures
optsin] 4oaq9) spreo Aromaur pue $ojqes “uoReys Surqoop amsuy-q
‘Joaed 0) pausisse semuTZD JEnSipaouojo1a onsouop [je ioadsuy-e
Ling) ors jo Furuuideq ay) iV “L{
- YWadId4O WS3G

Wa IVO OLOHd TV.LDIC AONS IIA OLLSHINO SAL AO HONVNGLLNIVIN

 

Cuomisath pun paaysy.om uoysadsur-fjas zandiuoo spupuadod
By) uy papnjour aq 0} a4v pimULUOD ay! Of paudissy spaguD? pouisip ayy
‘soloyd aguayoi oysauiop puojdn 07 [INPUOD D SV Sadcas OST HONDIS Burysop '
ayy ‘admpyo p ulojupnte oO] UO'YIS Suryop ayy uo yfa] aq snl sp4auln3a youdip
aouapoIn Dyseuop ‘aN Ut JOU Way, “BSOQDIC O10YeL jonSign aouayorg olsawocy
ay) out Sojoyd poTLAIp 1s0y/pDO]GN oj Boas aYT fo ssaquiam pauofiun
0} S82990 MOj{IO [Jim SuBIYfO YSAC] 'SIUEL} J]D 1D 9/qISSAI9V 94D SDAA?
joitip joys aansua pyr saaaiffo Buypupunoy “Ysap punwiwog ay fo djiuisin
ay} Wj pailionabul aq ism UoNDIS aanidDD puD DLTUTD FIUA/OIA JNSHMOD FH],
‘soyddn saaayotym (aauapina AL1owsYsoaUl/Sasey
-uou) sno; 21243 fo pua ayj 0) 401Ad 10 (e2uaprda jse4e0) Suissa2osd jSP41D
BuLinp asvqoynp ayy ony DuauiNd aif) Wwo4t sojoyd aguayoin oysauop dup poojdn
LISA siaoyffo peudissp/supsadip ‘240fa4ayt ‘sajoyd jprsip 2ouazO}A Tsawop
Maya dprimgsuy uo alo S,dausonpy JoLasicy ay) 10 jauuossad ‘pappojan
aug ‘wapsts ayy 0) ss2000 ures OF pasn aq pynoys , WYIAC., paowssod
josvanzun ayy ‘paomsspd enbyun o aumtbas Jou ssop aspquincy Oey, [ONSIT
gouaoty aysewog sy; out sojoyd joitatp aouapoid onseuop fo Supooyedht ay f
Viva TVNOLLIGQV

 

 

‘asegejeg 304d jeybiq
aouajoiA asewog ayy uf sued ADNDI0 O} Jassuez Apeoyeuoyne
IM SOTO ay) u} poujeju0a UONBULIOJU! ‘pajsoy SOU ALON
(SOI1O) Warsdg yareydoroD sur] TO aq
Wr pezTeny uasaq sey FAOATA LNIVLAINOD mp says sorond perp IO} “9T
“xessooou se sojoyd peaaip aye} pure suQaTA yy dn-sojo} MUOPed “ST
“AIBSSOOONM SE WayE] BOA BOUSTOLA
ansamop roy soroyd yertrp oy) bey) Ure}99 oxeUT 0} Apap asaqujeq ojo
Pasig susjor, opsemog om por ‘yaomd THOMA LNIV TAO
pazyeuy. ‘sjzoday jUapPLOU] IDsSeMo(E SAN P27 GUID [[# MOLASY “pt
‘ Yg9144O NOILNSAaYd 3ONIIOIA SLLSAIWOG
Jaoday Jueplauy apsawod SAN OB
3] qoeye puw smyeoy preaquintp og) Bmisn (sjoFeurt oy so Adoo (1) ano Io “¢1
‘giquotoesd se woos Se UnalsAs Aq) O}OT passyia
pue poureigo si saquing (7S1-£1¢dd) LUOTIA LNIV TANG) AH emnsey “CT
‘paypayzo st ysaare JI diaoos Zurummpuoe AawONY IOUIS}C] TOEISISS
orp jo atuen ot pu ‘soSeunt amp Impeojdn s99yj0 jo soquma xe} puw
anren ‘sojond otp Sanya sA0yFo sy JO 29qQuMN xe} pue ouTeT ‘usyxR] sqoyd
yeq31p Jo s9qumna ‘ony ‘oyep Buneorpar ANUS HOT ALLALLOV OPW TL
JOIANAS AHL JO YASW3AW GAWYOSINN

BERN AMINA TOM TEA SAIWTATY CONTACT SAENZ MINT FT WAMIN DTT TNT

 

 

 
